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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 19, 2023.

                                                                       __________________________________
                                                                               SHAD M. ROBINSON
                                                                       UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

  In re:                                               §
                                                       §       Case No. 23-10164-smr
  ASTRALABS, INC.,                                     §
                                                       §       Chapter 7
           Debtor.                                     §

                 ORDER (I) AUTHORIZING SALE OF DESIGNATED
         SECURITIES WARRANTS, FREE AND CLEAR OF ALL LIENS, CLAIMS,
       AND ENCUMBRANCES; (II) APPROVING NOTICE, SALE, AND EXECUTORY
      CONTRACT PROCEDURES; AND (III) SETTING FINAL HEARING TO APPROVE
        SALE AND GOOD FAITH DESIGNATION TO PREVAILING PURCHASER(S)

           CAME ON FOR CONSIDERATION the Motion (I) for Authority to Sell Designated

  Securities Warrants, Free and Clear of All Liens, Claims, and Encumbrances; (II) for Approval

  of Notice, Sale, and Executory Contract Procedures; and (III) to Set Final Hearing to Approve

  Sale and Good Faith Designation to Prevailing Purchaser(s) (the “Motion”), 1 filed by Randolph

  N. Osherow, not individually but in his capacity as the duly appointed chapter 7 trustee (in such

  capacity, the “Trustee”), for and on behalf of ASTRALABS, Inc., d/b/a “Newchip”



  1
       Capitalized terms not otherwise defined herein have those same meanings as in the Motion.

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  (the “Debtor”) and its bankruptcy estate (“Estate”), under the above-captioned chapter 7

  bankruptcy case, and this Court having considered the Motion, the arguments and representations

  of the parties, and the record before it, finds and concludes 2 that: (i) the relief requested in the

  Motion, including the Sale Procedures proposed therein, is fair, reasonable, appropriate, and

  designed to maximize the value of the Estate’s assets sought to be sold as proposed therein

  (the “Sale Assets”); (ii) the Trustee has exercised his reasonable business judgment in

  determining to sell the Sale Assets (the “Sale”) pursuant to the Sale Procedures proposed in the

  Motion and as further described in the form of Purchase Agreement (“APA”) proposed by the

  Trustee in connection with the Sale Procedures; (iii) the Trustee has formulated the Sale

  Procedures in good faith for the purpose of maximizing the value of the Sale Assets; (iv) due and

  adequate notice of the Motion and the Sale Procedures has been given to all creditors and

  parties-in-interest and no other or further notice is necessary; and (v) after due deliberation

  thereon, for all the reasons stated by the Court on the record, good and sufficient cause exists to

  grant the relief set forth herein as being in the best interests of the Debtor, the Estate, and its

  creditors. Accordingly, it is hereby:

          ORDERED that the Motion is GRANTED as provided herein. It is further,

          ORDERED that the Trustee is authorized to market and sell the Sale Assets listed on

  Exhibit 1 attached to the Sale Procedures, including the assumption and assignment to the

  eventual purchaser(s) (collectively, the “Purchaser”) of any Sale Assets constituting executory

  contracts contemplated under 11 U.S.C. § 365, to the extent designated by the Purchaser, free

  and clear of all liens, claims, and encumbrances, with any such interests attached to the Sale




  2
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
      of fact when appropriate. See Fed. R. Bankr. P. 7052.

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  Assets to transfer to the proceeds of Sale in the same amount, validity, and priority and subject to

  the same Estate defenses, if any. It is further,

         ORDERED that the Trustee through his Sale Agent may and shall proceed with

  marketing the Sale Assets for sale pursuant to the Sale Procedures, which procedures and notice

  of same (“Sale Notice”) are hereby approved in their entirety in the form attached as

  Exhibit “A” to this Order and incorporated herein by reference for all purposes as fully set forth

  in this Order, and encompass the following schedule:

       Cure Objection Deadline / Sale Objection Deadline          5:00 p.m. on January 16, 2024
       Executory Contract Hearing                                10:00 a.m. on January 26, 2024
       Bid Deadline                                               5:00 p.m. on March 19, 2024
       Notice of Prevailing Bid                                                  March 25, 2024
       Final Sale Objection Deadline                                  5:00 p.m. on April 1, 2024
       Final Sale Hearing                                            9:30 a.m. on April 18, 2024
                                                                 thirty (30) days following entry
       Closing Deadline
                                                                              of Final Sale Order

  The Trustee shall cause the Sale Notice to be served upon all creditors, parties-in-interest, Sale

  Asset counterparties, and the United States Trustee, as well as upon all parties who the Trustee is

  informed are interested bidders, and shall file a certificate of service with the Clerk of Court after

  completing service. The Trustee and his Sale Agent are authorized to take any and all actions

  necessary or appropriate to implement the Sale Procedures. It is further,

         ORDERED that the APA in substantially the form attached to the Sale Procedures is

  hereby APPROVED in its entirety for use in connection with the Sale Procedures and Sale,

  subject to reasonable modifications pursuant to the Trustee’s sole discretion. It is further,

         ORDERED that any Sale Asset counterparties (issuers of Warrants included in the Sale

  Assets) and all other persons and entities asserting any objection to the assumption or assignment


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  of a Warrant as an executory contract, other than an objection based solely on the identity of the

  Purchaser (i.e., the proposed assignee), must file and serve upon the Trustee a written objection

  stating the bases for its objection and any asserted, required cure amount by no later than

  5:00 p.m. (Central Time) on January 16, 2024 (the “Cure Objection Deadline”), unless such

  deadline is extended by the agreement of the Trustee or by further Order of this Court. It is

  further,

             ORDERED that any objections to the Sale that are not based solely on the identity of the

  Purchaser, including but not limited to objections based on any purported “right of first refusal”

  held by the issuer, must also be filed and served upon the Trustee by no later than 5:00 p.m.

  (Central Time) on January 16, 2024 (the “Sale Objection Deadline”). It is further,

             ORDERED that, in the event a timely objection is filed to the assumption and/or

  assignment of a Warrant as an executory contract or to the Sale—other than objections based

  solely on the identity of the Purchaser—a hearing shall be held to consider and resolve such

  objection(s), before the United States Bankruptcy Court, live and in-person 3 before the

  Honorable Shad M. Robinson, United States Bankruptcy Judge, at the United States courthouse

  located at the Homer J. Thornberry Federal Judicial Building, 903 San Jacinto Boulevard,

  Third Floor, Courtroom 1, Austin, Texas 78701, on January 26, 2024, at 10:00 a.m.

  (Central time) (“Executory Contract Hearing”). Any objection to the Sale or to the assignment

  of a Sale Asset as an executory contract, based on the identity of the Purchaser, must be filed and

  served upon the Trustee by no later than 5:00 p.m. (Central Time) on April 1, 2024. It is

  further,




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      Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
      https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.

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          ORDERED that, in the absence of an objection that is timely filed and served as set forth

  in the preceding paragraphs, the proposed cure amounts listed by the Trustee on Exhibit “1” to

  the Sale Procedures shall be controlling and dispositive, and any counterparty to a Sale Asset

  Warrant will be forever barred from asserting against the Debtor, the Trustee, the Estate, the

  Purchaser, or any assignee of such contract that any additional amounts are due on account of

  any defaults existing, or that such contract may not be assumed and assigned to the Purchaser, or

  that any other conditions to assumption or assignment or transfer by agreement must be satisfied

  in order to assign such contract to the Purchaser. It shall be entirely the obligation of the

  Purchaser to address and satisfy any and all cure amounts allowed by this Court as a condition of

  receiving assignment of any such contracts, without any adverse impact on its obligations to

  close the Sale, and without any reduction of the purchase price or any contribution from the

  Trustee or Estate. It is further,

          ORDERED that, by no later than March 25, 2024, the Trustee, shall notify the Qualified

  Bidder(s) who made the Successful Bid (“Successful Bidder”) as well as the Qualified Bidder(s)

  making the Back Up Bid (“Back Up Bidder”), and file notice of same for the Court’s approval at

  the Final Sale Hearing. It is further,

          ORDERED that the Final Sale Hearing to consider final approval of the Sale of the Sale

  Assets to the Successful Bidder and/or Back Up Bidder, as Purchaser, and the transactions

  contemplated thereby, shall be held before the United States Bankruptcy Court, live and

  in-person 4 before the Honorable Shad M. Robinson, United States Bankruptcy Judge, at the

  United States courthouse located at the Homer J. Thornberry Federal Judicial Building,




  4
      Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
      https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.

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  903 San Jacinto Boulevard, Third Floor, Courtroom 1, Austin, Texas 78701, on

  April 18, 2024, at 9:30 a.m. (Central Time). It is further,

         ORDERED that this Court shall retain exclusive jurisdiction over any matters related to

  or arising from the implementation of this Order, including, but not limited to, any matter, claim,

  or dispute arising from or relating to the Sale Procedures, the Sale, and/or the implementation of

  this Order.

                                                ###




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  Order respectfully submitted (agreed as to form and substance) by:
  Jay H. Ong
  Texas Bar No. 24028756
  Thanhan Nguyen
  Texas Bar No. 24118479
  MUNSCH HARDT KOPF & HARR, P.C.
  1717 West 6th Street, Suite 250
  Austin, Texas 78703
  Telephone: (512) 391-6100
  Facsimile: (512) 391-6149




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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                           §
                                                       §       Case No. 23-10164-smr
      ASTRALABS, INC.,                                 §
                                                       §       Chapter 7
                Debtor.                                §

            NOTICE OF ENTRY OF ORDER (I) APPROVING NOTICE, SALE, AND
           EXECUTORY CONTRACT PROCEDURES FOR SALE OF DESIGNATED
           SECURITIES WARRANTS, FREE AND CLEAR OF ALL LIENS, CLAIMS,
           AND ENCUMBRANCES; AND (II) SCHEDULING FINAL SALE HEARING

  TO ALL PARTIES IN INTEREST, PLEASE TAKE NOTICE THAT:
               Pursuant to a hearing held on December 18, 2023, the United States Bankruptcy Court for

  the Western District of Texas has entered in the above-captioned, chapter 7 bankruptcy case

  (“Bankruptcy Case”) an order [Docket No. ●] (the “Sale Procedures Order”) approving the Motion

  (I) for Authority to Sell Designated Securities Warrants, Free and Clear of All Liens, Claims, and

  Encumbrances; (II) for Approval of Notice, Sale, and Executory Contract Procedures; and (III) to

  Set Final Hearing to Approve Sale and Good Faith Designation to Prevailing Purchaser(s)

  [Docket No. 351] (the “Sale Motion”), filed by Randolph N. Osherow, not individually but in his

  capacity as the duly appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on behalf

  of ASTRALABS, Inc., d/b/a “Newchip” (the “Debtor”), and its bankruptcy estate (the “Estate”).

  PLEASE TAKE FURTHER NOTICE THAT:

               The Sale Procedures Order approves certain procedures (the “Sale Procedures”), attached

  hereto, pursuant to which the Trustee may sell (the “Sale”) all of the Debtor’s and Estate’s interests

  in those certain securities warrants listed on Exhibit “1” to the Sale Procedures (the “Warrant

  Schedule”), subject to the Bankruptcy Court’s final approval of the purchaser(s) and proposed Sale

  at the Final Sale Hearing. 1


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        Capitalized terms used and not otherwise defined herein have those same meanings as set forth in the Sale
        Procedures Order, and if none, then as set forth in the Sale Motion.



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  PLEASE TAKE FURTHER NOTICE THAT:

         All interested bidders should carefully read the Sale Motion, the Sale Procedures, and the

  Sale Procedures Order. If there are any inconsistencies between the Sale Procedures and the

  summary descriptions contained in this notice, the terms of the Sale Procedures shall control.

  Copies of the Sale Motion, Sale Procedures, and Sale Procedures Order are available upon written

  request made to the undersigned.

  PLEASE TAKE FURTHER NOTICE THAT:

         The Warrant Schedule constitutes the Trustee’s and Estate’s schedule of (putative)

  executory contracts that may be assumed by the Trustee and assigned to the purchaser(s) in

  connection with the Sale, together with the amount required to be paid, if any, to cure outstanding

  defaults under such contracts as a condition of assumption (each, a “Cure Amount”). Any
  objections to the Sale that are not based solely on the identity of the purchaser(s)/assignee(s),

  including but not limited to: (a) any proposed Cure Amount listed for any contracts in the Warrant

  Schedule, (b) the assumption or assignment of any contract by the Trustee on behalf of the Estate,

  or (c) any purported “right of first refusal” held by the issuer, must (i) be in writing, (ii) state the

  bases for objection, including any required cure amount (if applicable), and (iii) be filed and served

  on the Trustee by no later than 5:00 p.m. (Central Time) on January 16, 2024.

  PLEASE TAKE FURTHER NOTICE THAT:

         Any person or entity that is interested in submitting a bid and becoming a Qualified Bidder

  should contact the Trustee’s Sale agent and investment banker (“Sale Agent”), as follows:

                                 Chad Harding
                                 Managing Partner
                                 PEAK Technology Partners, LLC
                                 135 Main Street, Suite 1300
                                 San Francisco, California 94105
                                 E-mail: chad@peak-tech.com
                                 Tel: (801) 835-9000
         The deadline to submit a Bid under the Sale Procedures, is 5:00 p.m. (Central Time) on

  March 19, 2024.



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  PLEASE TAKE FURTHER NOTICE THAT:

          The Final Sale Hearing shall be conducted on April 18, 2024, at 9:30 a.m. (Central

  Time), live and in-person 2 before the Honorable Shad M. Robinson, United States Bankruptcy

  Judge, at the United States courthouse located at the Homer J. Thornberry Federal Judicial

  Building, 903 San Jacinto Boulevard, Third Floor, Courtroom 1, Austin, Texas 78701.


  Dated: December [●], 2023                                 Respectfully submitted,

                                                            By: /s/ Jay H. Ong
                                                              Jay H. Ong
                                                              Texas Bar No. 24028756
                                                              Thanhan Nguyen
                                                              Texas Bar No. 24118479
                                                              MUNSCH HARDT KOPF & HARR, P.C.
                                                              1717 West 6th Street, Suite 250
                                                              Austin, Texas 78703
                                                              Telephone: (512) 391-6100
                                                              Facsimile: (512) 391-6149
                                                              Email:       jong@munsch.com
                                                                           anguyen@munsch.com

                                                            Counsel for Randolph N. Osherow,
                                                            Chapter 7 Trustee




  2
      Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
      https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.



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                                             SALE PROCEDURES 1

  1.       Sale Assets. All of the Debtor’s and its bankruptcy estate’s (“Estate”) interests in and to
           those certain securities warrants listed on Exhibit “1” hereto and incorporated herein by
           reference for all purposes (each a “Warrant” and collectively, the “Sale Assets”).

  2.       Executory Contracts. To the extent that any of the Sale Assets constitute executory
           contracts for purposes of the Bankruptcy Code, 2 the Trustee intends to assume same and
           assign them to the buyer(s) of the Sale Assets (collectively, the “Purchaser”), to the extent
           designated by the Purchaser, pursuant to 11 U.S.C. § 365. The list of Sale Assets attached
           hereto comprises the list of executory contracts that may be assumed by the Estate and
           assigned to a Purchaser pursuant to the Sale. Any and all such Warrants listed as Sale
           Assets shall be available for potential assumption by the Estate and assignment to the
           Purchaser, at its election, unless the Court sustains an objection thereto, and subject to the
           payment of any and all required obligations to cure existing defaults. There are no other
           executory contracts or unexpired leases potentially implicated by the Sale.

           a. Exhibit “1” hereto also lists any known cure amounts, if any, applicable to each such
              Warrant and has been served upon all non-debtor contract parties thereto. For the
              avoidance of doubt, the Trustee believes and asserts that there is no cure amount
              applicable to any Warrant. Any party objecting to the assumption or assignment of a
              Warrant as an executory contract, other than an objection based solely on the identity
              of the Purchaser (i.e., the proposed assignee), must file and serve upon the Trustee a
              written objection stating the bases for its objection and any required cure amount by
              no later than 5:00 p.m. (Central Time) on January 16, 2024 (the “Cure Objection
              Deadline”).

           b. In the event a timely objection is filed to the assumption and/or assignment of a Warrant
              as an executory contract, other than an objection based solely on the identity of the
              Purchaser (i.e., the proposed assignee), a hearing shall be held to consider and resolve
              such objection(s), before the United States Bankruptcy Court, live and in-person 3
              before the Honorable Shad M. Robinson, United States Bankruptcy Judge, at the United
              States courthouse located at the Homer J. Thornberry Federal Judicial Building,
              903 San Jacinto Boulevard, Third Floor, Courtroom 1, Austin, Texas 78701, on
              January 26, 2024, at 10:00 a.m. (Central Time) (the “Executory Contract Hearing”).

           c. It shall be entirely the obligation of the Purchaser to pay or otherwise resolve any and
              all such cure amounts, solely to the extent allowed by the Bankruptcy Court, as a
              condition of receiving assignment of any such contracts, without any adverse impact

  1
       Capitalized terms used and not otherwise defined herein have those same meanings as set forth in the Sale
       Procedures Order, and if none, then as set forth in the Sale Motion.

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       Title 11, United States Code, §§ 101 et seq., (as amended, the “Bankruptcy Code”).

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       Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
       https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.



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           on its obligations to close its Successful Bid or Back Up Bid (as such terms are defined
           herein), as the case may be, without any reduction of the purchase price or any
           contribution from the Trustee or Estate, and no matter how such requested assumption
           and assignment is resolved, whatsoever.

       d. Rights of First Refusal. To the extent a Warrant included as a Sale Asset incorporates
          a purported “right of first refusal” held by the issuer, such as but not limited to any
          asserted right to match and supersede any Successful Bid, Back Up Bid, or Sale to the
          Purchaser, no such rights of first refusal shall be exercisable or enforceable in
          connection with these Bid Procedures or the Sale; provided, however, that any
          assignment of any Warrant by the Estate pursuant to the Sale shall expressly be cum
          onere, together with, and including, any and all related provisions, rights, and
          obligations, including any right of first refusal, but solely to the extent valid and
          enforceable under applicable law.

  3.   Bid Deadline: 5:00 p.m. (Central Time), on March 19, 2024, except as may otherwise be
       agreed to by the Trustee, including through his Sale Agent, in the Trustee’s sole and
       exclusive discretion.

  4.   Bidder Qualifications. By no later than the Bid Deadline, all interested bidders must
       qualify according to these Sale Procedures (“Qualified Bidders”), through and with the
       Sale Agent, and as determined by the Trustee, through his Sale Agent, in his sole discretion.
       In order to qualify as a Qualified Bidder, the putative bidder must, by no later than the Bid
       Deadline, provide to the Sale Agent: (1) an executed Non-Disclosure Agreement in the
       format attached hereto as Exhibit “2” and incorporated herein by reference for all
       purposes, as a condition of receiving due diligence access; and (2) an initial $10,000.00
       earnest money deposit (“Deposit”) by check or wire, in immediately available cash. After
       receiving, reviewing, and evaluating the foregoing from a potential bidder, or upon written
       request, the Sale Agent will use its commercially reasonable efforts to promptly confirm
       to the bidder its status as a Qualified Bidder or outstanding items required to be completed
       or corrected in order for the bidder to qualify as a Qualified Bidder.

  5.   Qualified Bids. Subject to the procedures set forth herein, Qualified Bidders may bid on
       all Warrants in the aggregate, any Warrant individually, or any combination of Warrants.
       Qualified Bidders may make multiple, alternate Qualified Bids. To be a Qualified Bid, a
       bid must be in writing, delivered to the Sale Agent by no later than the Bid Deadline, and:

         (i)   be in the form of the Asset Purchase Agreement approved by the Bankruptcy Court
               and available upon request from the Sale Agent or Trustee’s counsel (“APA”), a
               true and correct copy of which is attached hereto as Exhibit “3”, and include a
               redline showing all changes made to the form of APA under the bid;

        (ii)   expressly identify the Sale Asset Warrant(s) that the Qualified Bidder seeks to
               purchase and have assigned to the Purchaser;

       (iii)   be entirely irrevocable and unconditional with respect to financing or any other
               approval, authorization, or contingency, save for Bankruptcy Court authorization;



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           (iv)     include the Qualified Bidder’s commitment and agreement, if approved as
                    Successful Bidder or Back Up Bidder (as such terms are defined herein), to close
                    its approved bid by no later than 5:00 p.m. (Central Time) on the first business date
                    that is thirty (30) days following entry of the Final Sale Order; 4

            (v)     increase the Qualified Bidder’s Deposit to the amount that is at least 10% of the
                    Qualified Bidder’s aggregate bid amount; 5 and

           (vi)     provide to the Sale Agent satisfactory written information demonstrating the
                    Qualified Bidder’s financial capability to close the transaction proposed under its
                    bid, which satisfactory evidence may be comprised of (a) recent sworn financial
                    statements of the Qualified Bidder and/or its direct or indirect equity interest
                    holder(s), (b) confirmation of available funds on deposit, or (c) such other evidence
                    as may be reasonably satisfactory as determined by the Trustee, including through
                    his Sale Agent, in the Trustee’s sole discretion.

  6.       Due Diligence; “as is / where is”. Due to the particular circumstances of this Estate, the
           Sale shall be “as is / where is” with the Purchaser taking all Sale Assets subject to any and
           all existing defenses, faults, and defects, other than asserted cure amounts required under
           11 U.S.C. § 365, and without: (i) any representation or warranty from the Trustee or Estate
           (which is, and shall be, expressly disclaimed by the Trustee and Estate in the APA) as to
           (A) the validity, effectiveness, or legal enforceability of any Warrant, (B) the remaining
           exercise period (if any) and/or exercise price under any Warrant, (C) the current or potential
           future value of any Warrant or of any underlying securities of the issuer of any Warrant for
           which such Warrant is exercisable, (D) the condition of any Warrant, or (E) the current or
           future potential financial condition and/or business prospects of any issuer of any Warrant;
           or (ii) any right to redress or reduction whether on account of any exceptions or matters
           discovered in the course of due diligence or otherwise. The Trustee and Sale Agent shall
           reasonably cooperate in providing to Qualified Bidders available due diligence disclosures
           of information in the Trustee’s and Estate’s actual possession, including but not limited to
           data room access; provided, however, that the Trustee makes no assurance of the
           availability or accuracy of any particular due diligence disclosures nor shall any interested
           bidder shall be entitled to any such assurance.

           In particular, as provided in the required form of APA: (i) the Purchaser will be required
           to make customary and standard securities laws representations and warranties, including
           without limitation that (A) it is a sophisticated and knowledgeable investor, (B) it is an
           “accredited investor” (as that term is defined in Regulation D promulgated by the Securities
           and Exchange Commission), (C) it is able to bear the economic risk of an investment in
           the Warrant(s) being acquired by it, and (D) it is acquiring Warrant(s) (and any underlying

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       A true and correct copy of the proposed Final Sale Order is attached hereto as Exhibit “4” and incorporated
       herein by reference for all purposes.

  5
       Where the Qualified Bidder’s original Deposit already equals or exceeds 10% of its bid, no increase shall be
       required in order to render its bid a Qualified Bid, but nor shall any downward adjustment be permitted (other
       than potential refunding as provided in these Sale Procedures).



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       securities) for its own account for investment and not with the view toward resale or
       redistribution; and (ii) the Trustee is and shall be under no obligation to make disclosures
       regarding any Warrant(s) or any Warrant issuer(s) under applicable non-bankruptcy law,
       including, without limitation, under any applicable state and/or federal securities laws, but
       rather, each and every Qualified Bidder, and the Purchaser, is required to rely exclusively
       on its own consultants, advisors, counsel, employees, agents, principals, and/or
       information, studies, investigations, and/or inspections with respect to any Warrant, its
       condition, value, and potential.

  7.   Determination of Highest and Best Qualified Bid(s). In consultation with the Sale Agent,
       the Trustee has determined in his reasonable business judgment that a public auction
       procedure is neither practicable nor likely to lead to the highest and best aggregate, net Sale
       results for the Estate. Accordingly, no auction shall be conducted following the
       expiration of the Bid Deadline. Rather, bidders are encouraged to submit their highest
       and best Qualified Bids as soon as reasonably possible, which will maximize the Sale
       Agent’s opportunity to review and evaluate bids and inform Qualified Bidders of bid
       defects to the extent practicable and as provided above. Bidders should also submit their
       highest and best Qualified Bids as soon as reasonably possible in order to maximize the
       Sale Agent’s opportunities to confer with the Qualified Bidder, in the Sale Agent’s
       discretion, as to the Qualified Bidder’s Qualified Bid and the Sale Agent’s current
       prognosis as to the Qualified Bid’s likelihood of being selected as, or as among, the highest
       and best Qualified Bid(s) received by the Estate. Notwithstanding the foregoing, the
       Trustee, including through his Sale Agent, makes no assurance or commitment that the
       Sale Agent will confer with or provide any particular information to a Qualified Bidder as
       to the Qualified Bid’s likelihood of being selected as, or as among, the highest and best
       Qualified Bid(s) received by the Estate, and provided, however, that the Trustee and Sale
       Agent shall not unduly discriminate against any particular bidder.

       a. Following the Bid Deadline, the Trustee shall, in consultation with the Sale Agent and
          in the Trustee’s sole discretion, determine: (i) the Qualified Bid or combination of
          Qualified Bids that constitutes the highest and best Qualified Bid(s) received
          (collectively, the “Successful Bid”); and (ii) the Qualified Bid or combination of
          Qualified Bids that constitutes the next highest and best Qualified Bid(s) received
          (collectively, the “Back Up Bid”).

       b. By no later than March 25, 2024, the Trustee, shall notify the Qualified Bidder(s) who
          made the Successful Bid (collectively, the “Successful Bidder”) as well as the Qualified
          Bidder(s) making the Back Up Bid (collectively, the “Back Up Bidder”), and file notice
          of same for the Court’s approval at the Final Sale Hearing.

       c. Any objection to the Sale or to the assignment of a Warrant based on the identity of the
          purchaser must be filed and served upon the Trustee by no later than 5:00 p.m.
          (Central Time) on April 1, 2024.

  8.   Final Sale Hearing. A hearing to finally approve and authorize the Sale with the Successful
       Bidder and/or Back Up Bidder, as applicable, shall be held before the United States



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            Bankruptcy Court, live and in-person 6 before the Honorable Shad M. Robinson, United
            States Bankruptcy Judge, at the United States courthouse located at the Homer J.
            Thornberry Federal Judicial Building, 903 San Jacinto Boulevard, Third Floor,
            Courtroom 1, Austin, Texas 78701, on April 18, 2024, at 9:30 a.m. (Central Time).

  9.        Closing. If any Successful Bidder does not close the Sale by no later than 5:00 p.m.
            (Central Time) on the first business date that is thirty (30) days following entry of the
            Final Sale Order, the Trustee shall retain such Successful Bidder’s Deposit, entirely and
            as damages for the benefit of the Estate and for all purposes, and the Trustee may, in his
            sole discretion, notify the Back Up Bidder and proceed to close the Back Up Bid with the
            Back Up Bidder, as Purchaser.

            a. In such event, if any Back Up Bidder does not close the Sale by no later than 5:00 p.m.
               (Central Time) on the first business date that is fifteen (15) days following the
               Trustee’s notice to the Back Up Bidder, the Trustee shall retain such Back Up
               Bidder’s Deposit, entirely and as damages, for the benefit of the Estate and for all
               purposes.

            b. In the event there are multiple Qualified Bidders / proposed Purchasers whose
               Qualified Bids have been aggregated or combined under, and as, the Successful Bid or
               the Back Up Bid, and fewer than all of the Qualified Bidders / proposed Purchasers
               under such Successful Bid or Back Up Bid, as applicable, fail to close the Sale as
               required under these Sale Procedures, the Trustee, in his sole discretion, may
               nevertheless determine to proceed with closing the Sale, or the remainder of the Sale,
               with the remaining, non-defaulting Successful Bidders or Back Up Bidder(s), in the
               Trustee’s sole discretion.

  10.       Deposits. The Deposit amount applicable to a prevailing bid shall be credited towards the
            applicable purchase price obligations of the Successful Bidder (or Back Up Bidder, as
            applicable) at closing. The Deposit of each Qualified Bidder that is not selected as a
            Successful Bidder or Back Up Bidder shall be refunded by the Trustee within three (3)
            business days following the completion of the Final Sale Hearing; provided, however, that
            the Deposit of the Back Up Bidder shall be returned within three (3) business days
            following the closing of the Sale to the Successful Bidder. Notwithstanding the foregoing,
            in the event that any Successful Bidder or Back Up Bidder fails to timely close the Sale as
            required under these Sale Procedures, other than for a reason determined by the Court to
            be entirely beyond the bidder’s control, then such Successful Bidder or Back Up Bidder’s
            Deposit, as applicable, shall automatically be entirely forfeited and retained by the Trustee
            for the benefit of the Estate, as damages.

            a. In the event there are multiple Qualified Bidders / proposed Purchasers whose bids
               have been aggregated or combined under the Successful Bid or Back Up Bid, only the



  6
        Information on attending the hearing remotely by WebEx or telephone can be found on the Court’s website:
        https://www.txwb.uscourts.gov/honorable-shad-m-robinson-us-bankruptcy-judge.



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           defaulting Successful Bidder(s) or Back Up Bidder(s), as applicable, shall forfeit its (or
           their) Deposit(s).

        b. Any Successful Bidder or Back Up Bidder who is not afforded the opportunity to close
           the Sale due to the default of another Successful Bidder or Back Up Bidder, as
           applicable, shall receive a refund of its Deposit where the Court determines that the
           failure to close was entirely beyond its reasonable control. In the event a Successful
           Bidder or Back Up Bidder defaults on its obligations to timely close the Sale as required
           under these Bid Procedures, any Deposit of a non-defaulting Successful Bidder and/or
           Back Up Bidder shall be refunded within three (3) business days of the earlier of: (i) the
           closing of the Sale, if agreed by the Trustee; and (ii) the Court’s determination that the
           failure to close was entirely beyond the bidder’s reasonable control.

  11.   Modifications to the Bid Procedures. The Trustee reserves all rights to modify these
        procedures in his reasonable business judgment in any manner that will best promote the
        goals of the bidding process and maximize the net value of the Sale Assets, including but
        not limited to, imposing additional customary terms and conditions on the Sale of the Sale
        Assets, including, without limitation: (i) adjourning, amending, or extending these Bid
        Procedures and/or the Sale schedule, any deadline, setting, or time period set forth in these
        procedures, or by adjourning and continuing the Final Sale Hearing in open court without
        further notice; (ii) reopening the Bid Deadline to consider additional bidding; and
        (iii) terminating the Sale process and/or rejecting any or all bids.

  12.   Contacts.

        a. Sale Agent. Chad Harding, PEAK Technology Partners, LLC, 135 Main Street,
           Suite 1300, San Francisco, California 94105, E-mail: chad@peak-tech.com;
           Telephone: (801) 835-9000.

        b. Trustee’s Counsel. Jay Ong, Munsch Hardt Kopf & Harr, P.C., 1717 West 6th
           Street, Suite 250, Austin, Texas 78703, E-mail: jong@munsch.com;
           Telephone: (512) 391-6100.




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                                    Exhibit “1”

                      Sale Assets / Executory Contract Schedule
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                                                          Sale Assets / Executory Contract Schedule

# Warrant Counterparty                      Alternate Mailing Address                                 E-mail                                Contract Date        Cure Amount
   1 Clique Systems
   Ayman Badawi
 1                                                                                                    ayman@1cliquesystems.com                February 6, 2021         $0.00
   Boutique Villa #in5, Knowledge Village
   Dubai, United Arab Emirates
   11422049 Canada Inc. d/b/a Cxsphere
 2 25 Watline Ave                                                                                     sudipta@cxsphere.com                       June 30, 2021         $0.00
   Mississauga ON L4Z 2Z1, Canada
   11Sight                                  11Sight
   Aleks Gollu                              1927 Cedar St                                             farokh@11sight.com;
 3                                                                                                                                            January 21, 2021         $0.00
   2363 Carquinez Ave #301                  Berkeley, CA 94709                                        eren@11sight.com
   El Cerrito, CA 94530
   21strategies GmbH                        21strategies GmbH
                                                                                                      yhofstetter@21strategies.com;
   Yvonne Hofstetter                        Lilienthalstraße 27
 4                                                                                                    yvonne.hofstetter@21strategies.com;     January 25, 2021         $0.00
   Marchenbacher Str. 12                    85399 Hallbergmoos, Germany
                                                                                                      yvonne@hedge21.com
   85406 Zolling, Germany
   6Degrees LTD                             6Degrees LTD
   Miri Berger                              Building 2, Dvora HaNevi'a
 5                                                                                                    mb@6degrees.tech                      December 11, 2020          $0.00
   Dvora HaNevi'a 119                       Tel Aviv, 6972619, Israel
   Tel Aviv, 6944039, Israel
   8 Myles d/b/a Myles Comfort Food         8 Myles d/b/a Myles Comfort Food
 6 1369 New York Ave NE                     1751 Pinnacle Dr                                          myles@8myles.com                           May 14, 2021          $0.00
   Washington, DC 20002                     McLean, VA 22102
   Accelery, LLC                            Accelery, LLC
   Lenwood Ross                             551 Valley Rd
 7                                                                                                    lross@accelery.com                      October 31, 2020         $0.00
   64 Cobane Terrace                        Montclair, NJ 07043
   West Orange, NJ 07052
   ACE Green Recycling                      ACE Green Recycling
   Nishchay Chadha                          1 Magazine Rd
 8                                                                                                    nishchay.chadha@acerecycling.net        October 27, 2020         $0.00
   10 Woodleigh Cl                          Central Mall
   Singapore 357905                         Singapore 059567
   Adelante Shoe Co.
   Peter Sacco
 9                                                                                                    peter@adelanteshoes.com                November 4, 2020          $0.00
   1770 Massachusetts Ave
   Cambridge, MA 02140
   Aeromechs srl
   Beniamino Guida
10                                                                                                    beniamino.guida@aeromechs.eu            January 21, 2021         $0.00
   Via Parente, 10
   80131 Aversa CE, Italy
   Aerostrovilos energy Pvt. Ltd            Aerostrovilos energy Pvt. Ltd
   Rohit Grover                             TRI3D, 3rd Floor, D block Phase II
11                                                                                                    rohit@aerostrovilos.com                 January 26, 2021         $0.00
   IIT Madras Research Park                 IIT Madras Research Park
   Chennai, Tamil Nadu 600113, India        Chennai, Tamil Nadu 600113, India
   Affective Markets                        Affective Markets
   Dan Gang                                 1628 Bowling Ln                                           dan@affectivemarkets.com;
12                                                                                                                                          November 30, 2020          $0.00
   Derech Hayam 13/13                       San Jose, CA 95118                                        dan.gang@affectivemarkets.com
   Ganne Tiqwa, 55900, Israel


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# Warrant Counterparty                             Alternate Mailing Address                       E-mail                               Contract Date        Cure Amount
   Afocusedpath                                    Afocusedpath
13 PO Box 3736                                     99 North Main St                                rdeberry@afocusedpath.com                  July 8, 2021         $0.00
   Memphis, TN 38173                               Memphis, TN 38103
   AgShift                                         AgShift
   Miku Jha                                        650 Town Centre Dr
14                                                                                                 naveen@coinage.sg                      October 30, 2020         $0.00
   1762 Technology Dr Ste 211                      Costa Mesa, CA 95110
   San Jose, CA 95110
   AiDLT Global LTD d/b/a BlockBank                AiDLT Global LTD d/b/a BlockBank
15 Madison Building Midtown                        J. Savickio g. 4-7                              maksim@blockbank.ai                   February 21, 2023         $0.00
   Queesnway, GX111AA, Gibraltar                   03108 Vilnius, Lithuania
   Aikido Finance d/b/a STRATxAI                   Aikido Finance d/b/a STRATxAI
   Shane Monks O'Byrne                             Rathkip, Ballina                                paul@aikido.finance;
16                                                                                                                                        January 21, 2021         $0.00
   Windy Ridge, Quarry Road Rathmichael            Mayo, F26 KX86, Ireland                         shane@aikido.finance
   Dublin, D18 E8C6, Ireland
   Align Money Inc d/b/a Digital Align
   Rajesh Patil
17                                                                                                 rajesh@digitalalign.com              November 30, 2020          $0.00
   44533 Japala Pl
   Fremont, CA 94539
   Alippo                                          Alippo
   Ayushi Sinha                                    Embassy TechVillage, Block L
18 F-1001, Block 13                                Dr Puneeth Rajkumar Rd                          ayushi@alippo.com                    November 30, 2020          $0.00
   Suncity, Gold Strike, Bellandur 560102          Bengaluru, Karnataka 560103, India
   Karnataka, India
   Allwell Greens                                  Allwell Greens
   Judy Cari                                       3511 Greenpoint Ave                                                                    October 27, 2020
19                                                                                                 john.cari@allwellgreens.com                                     $0.00
   26 Broadway, 8th Floor                          New York, NY, 11101                                                                   December 7, 2020
   New York, NY 10004
   Altis                                           Altis
                                                                                                   jeff@altisai.com;
20 727 NE 3rd Ave                                  1401 E Broward Blvd                                                                       July 22, 2021         $0.00
                                                                                                   constantine@altisai.com
   Ft Lauderdale, FL 33304                         Fort Lauderdale, FL 33301
   Amitruck Ltd                                    Amitruck Ltd
   Mark Mwangi                                     1st Floor, The Address
21 7th Floor, Karlson Towers                       Muthangari Drive                                mark@amitruck.com                    November 30, 2020          $0.00
   22 Crescent Rd                                  P.O BOX 1320-00606
   Nairobi, 00100, Kenya                           Nairobi, 00100, Kenya
   Amplio.ai
22 43877 Paramount Pl                                                                              trung@amplio.ai                       December 9, 2021          $0.00
   Chantilly, VA 20152
   Ancana Living                                   Ancana Living
   Andres Barrios                                  C. Montes Urales 415
23                                                                                                 andres@ancana.co                       January 21, 2021         $0.00
   Acueducto Río Hondo 110-piso 2                  Miguel Hidalgo, 11000 Ciudad de México, CDMX,
   Miguel Hidalgo, 11000 Ciudad de México, CDMX,   Mexico
   Aphelion Aerospace
                                                                                                   mayala@aphelionaerospace.com;
24 5815 W 6th Ave Unit 2D                                                                                                                     June 2, 2022         $0.00
                                                                                                   miguel.ayala@aphelionaerospace.com
   Lakewood, CO 80214



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# Warrant Counterparty                              Alternate Mailing Address                       E-mail                            Contract Date        Cure Amount
   App4Legal                                        App4Legal
   Feras El Hajjar                                  954 Lexington Ave                               connect@app4legal.com;
25                                                                                                                                    November 30, 2020          $0.00
   Dubai World Central                              New York, NY 10021                              felhajjar@app4legal.com
   Dubai, Dubai, United Arab Emirates
   Applied Autonomy                                 Applied Autonomy
   Olav Madland                                     Kongsberg Technology Park
26                                                                                                  olav.madland@appliedautonomy.no     October 27, 2020         $0.00
   Kirkegata 4                                      Kirkegårdsveien 45
   3616 Kongsberg, Norway                           3616 Kongsberg, Norway
   Apres Beverages LLC d/b/a Cask & Kettle
                                                                                                    lucinda@caskandkettleusa.com;
27 62 E Michigan Ave                                                                                                                   February 11, 2021         $0.00
                                                                                                    william@caskandkettleusa.com
   Battle Creek, MI 49017-4006
   AquaLith Advanced Materials Inc.
28 4467 Technology Dr                                                                               gregory@aqualith.net                 March 15, 2022          $0.00
   College Park, MD 20742
   Arya Health Records                              Arya Health Records
29 2305 King Edward Ave W                           200 Granville St                                rvandegriend@aryaehr.com           September 7, 2022         $0.00
   Vancouver BC V6L 1T3, Canada                     Vancouver, BC V6C 1S4, Canada
   ASETS-LUX S.a.r.l                                ASETS-LUX S.a.r.l
30 18 Om Flouer                                     6A Av. des Hauts-Fourneaux                      ashwini.oke@asetslux.com             March 31, 2021          $0.00
   5681 Dalheim, Luxembourg                         4362 Esch-Belval Esch-sur-Alzette, Luxembourg
   AstroReality                                     AstroReality
31 160 E Tasman Dr                                  10121 Miller Ave                                joanne@astroreality.com              March 29, 2021          $0.00
   San Jose, CA 95134                               Cupertino, CA 95014
   Audalize Ptd Ltd                                 Audalize Pty Ltd
   Ross Woodhams                                    12 Graylands Rd                                 ross.woodhams@audalize.com.au;
32                                                                                                                                      January 21, 2021         $0.00
   Unit5 / 10 Canning Highway                       Claremont WA 6010, Australia                    ross.woodhams@audalize.co
   South Perth, Western Australia 6151, Australia
   B89
   Mauricio Alban-Salas                                                                             amparo@b89.io;
33                                                                                                                                      October 27, 2020         $0.00
   AVD LA PAZ, 528                                                                                  mauricio@b89.io
   LIMA, Lima, 15000, Peru
   BallBox                                          BallBox
   Alexander Hejazi                                 220 E Illinios St
34                                                                                                  alex@playballbox.com                October 27, 2020         $0.00
   1777 Chestnut Pl                                 Chicago, IL 60611
   Denver, CO 80202
   Bayise Tutor, Inc.                               Bayise Tutor, Inc.
35 38 7th St                                        519 Central Park                                contact@bayisetutor.com                 July 8, 2021         $0.00
   Rochester, NY 14609                              Rochester, NY 14609
   Bear's Fruit Kombucha
   Amy Driscoll
36                                                                                                  amy@bearsfruit.com                November 30, 2020          $0.00
   67 35th Street
   Brooklyn, NY 11232
   BeepQuest
   Bernardo Mohnblatt
                                                                                                    leon@beepquest.com;
37 Jalapa 17, 5th Floor                                                                                                                November 3, 2020          $0.00
                                                                                                    berny@beepquest.com
   Roma Nte., Cuauhtémoc
   06700 Ciudad de México, CDMX, Mexico

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# Warrant Counterparty                    Alternate Mailing Address                  E-mail                            Contract Date        Cure Amount
   BeeReaders Inc                         BeeReaders Inc
   Ruben Arias                            115 Wild Basin Rd S
38                                                                                   ruben.arias@beereaders.com        November 30, 2020          $0.00
   8121 Bee Cave Rd                       Austin, TX 78746
   Austin, TX 78746
   Benevolently
   Carson Kelly
39                                                                                   carson@carsonkelly.com              October 27, 2020         $0.00
   877 Cedar St Ste 150
   Santa Cruz, CA 95060
   BeniPlus Inc.
   Stephen DeKuyper
40                                                                                   sbeckett@beniplus.ca                January 21, 2021         $0.00
   67 Yonge St #1101
   Toronto, ON M5E 1J8, Canada
   Bestest, LLC                           Bestest, LLC
   Kelly Helmuth                          400 R St
41                                                                                   khelmuth@mybestestapp.com         November 30, 2020          $0.00
   5350 Via del Sole                      Sacramento, CA 95814
   Williamsville, NY 14221
   BetaRisk                               BetaRisk
   Ronald Chirochangu                     131 Finsbury Pavement
42                                                                                   ronald.chirochangu@betarisk.com   November 14, 2020          $0.00
   16 Austin Ave                          London EC2A 1NT, UK
   Bromley BR2 8AJ, United Kingdom
   Biocanic, Inc.
   Jeremy Malecha
43                                                                                   jeremy@biocanic.com               November 30, 2020          $0.00
   4976 Foothill Blvd
   San Diego, CA 92109
   BISEP INC.
   David D'Angelo
44                                                                                   dan@bisep.org                     November 30, 2020          $0.00
   4551 Zimmerman Ave #13
   Niagara Falls, ON L2E 3M5, Canada
   bitewell                               bitewell
                                                                                     chris@bitewell.com;
45 728 W Jackson Blvd                     3660 Blake St                                                                     July 31, 2021         $0.00
                                                                                     sam@bitewell.com
   Chicago, IL 60661                      Denver, CO 80205
   BlockQuake
   Antonio Brasse                                                                    antonio.brasse@blockquake.com;
46                                                                                                                     December 10, 2020          $0.00
   110 Wall Street                                                                   samuel.brasse@blockquake.com
   New York, NY 10005
   BloomCatch Inc.                        BloomCatch Inc.
   Raymond Magee                          PO Box 230292
47                                                                                   raymond.magee@bloomcatch.com        October 27, 2020         $0.00
   5806 Deer Pond Rd                      Centreville, VA 20120
   Centreville, VA 20120
   Bloomfield Robotics                    Bloomfield Robotics
   Mark DeSantis                          3485 Butler St                             mark@bloomfield.ai;
48                                                                                                                       January 21, 2021         $0.00
   2026 E Carson Street                   Pittsburgh, PA 15201                       tim@bloomfield.ai
   Pittsburgh, PA 15203




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# Warrant Counterparty                         Alternate Mailing Address                              E-mail                                   Contract Date        Cure Amount
   BlueSemi R&D                                BlueSemi R&D
                                                                                                      sunil@bluesemi.io;
   T-Hub foundation Catalyst                   T-Hub Phase 2
                                                                                                      sunil.maddikatla@bluesemiconductors.co
49 hyderabad 500032, Andhra Pradesh, India     20, Inorbit Mall Rd                                                                                 August 2, 2021         $0.00
                                                                                                      m
                                               Vittal Rao Nagar, Madhapur
                                               Hyderabad, Telangana 500081, India
   Bluespace
   John Chidiac
50 c/o WeWork                                                                                         christine@bluespace.ai                   November 30, 2020          $0.00
   27 East 28th Street
   New York, NY 10016
   Bonding Health                              Bonding Health
                                                                                                      lara@bondinghealth.com;
51 7 Hanger Rd                                 44 Montgomery St                                                                                      July 1, 2021         $0.00
                                                                                                      pen@bondinghealth.com
   Sun Valley, ID 83340                        San Francisco, CA 94104
   Brave UP!                                   Brave UP!
52 220 E 23rd St Ste 400                       Guardia Vieja 181                                      felipe.zanoni@braveup.cl                      July 22, 2021         $0.00
   New York, NY 10010                          7510186 Providencia, Región Metropolitana, Chile
   Butler Corporation SPA d/b/a CleanLight     Butler Corporation SPA d/b/a CleanLight
   Jordan Butler                               Enrique Foster Sur 39, Oficina 701
53 Galvarino 9440-A                            7550203 Las Condes, Región Metropolitana, Chile        jordan@cleanlight.cl                       October 27, 2020         $0.00
   Quilicura, Región Metropolitana
   Santiago, Chile
   BytaGig LLC
   John Jackson
54                                                                                                    jjackson@bytagig.com                     November 30, 2020          $0.00
   PO BOX 265
   Estacada, OR 97023
   Callido Learning Private Limited            Callido Learning Private Limited
55 Elegant House, Raghuvanshi Mills Compound   Ground Floor, Raghuvanshi Mills, Senpati Bapat Marg,   sriram@callidolearning.com                December 7, 2021          $0.00
   Mumbai 400013, Maharashtra, India           Mumbai, Maharashtra, 400013, India
   Capsul Inc.                                 Capsul Inc.
   Tina Cheng                                  46 Peninsula Center
56                                                                                                    tina@capsuljewelry.com                     October 31, 2020         $0.00
   840 Apollo St. #100                         Rolling Hills Estates, CA 90274
   El Segundo, CA 90245
   Care.Life, Inc.                             Care.Life, Inc.
57 1955 Ironton Blvd                           3000 S Sierra Vis Wy                                   etorres@care.life                             April 5, 2021         $0.00
   Provo, UT 84020                             Provo, UT 84606
   CARL, INC                                   CARL, INC
58 17 John St, Sixth Floor                     17 John St, Sixth Floor                                gunnar@investwithcarl.com                      June 2, 2022         $0.00
   New York, NY 10038                          New York, NY 10038
   CatalystXL, Inc. d/b/a Cardware             CatalystXL, Inc. d/b/a Cardware
   Dugan Schwalm                               6001 Cass Ave
59                                                                                                    mark@catalystxl.com                        January 21, 2021         $0.00
   707 N Wells St                              Detroit, MI 48202
   Chicago, IL 60654
   Cenports Commerce Inc.                      Cenports Commerce Inc.
                                                                                                      derrick@cenports.com;
   Derrick Chen                                1742 Sabre St
60                                                                                                    hillary@cenports.com;                    November 30, 2020          $0.00
   2530 Berryessa Rd #332                      Hayward, CA 94545
                                                                                                      lily@cenports.com
   San Jose, CA 95132-2903


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# Warrant Counterparty                            Alternate Mailing Address                      E-mail                             Contract Date        Cure Amount
   Centbee                                        Centbee
   16 Baker Street                                Fire Station Building, 10th floor              angus@centbee.com;
61                                                                                                                                  November 25, 2022          $0.00
   Rosebank, Johannesburg                         16 Baker St                                    lorien@centbee.com
   Gauteng, 2196, South Africa                    Rosebank, Johannesburg, 2196, South Africa
   Chainstarters Cloud Inc
   Mike Berson
62                                                                                               mike@chainstarters.com              December 2, 2020          $0.00
   777 NW 19th Ave
   Portland, OR 97209
   CHARGE+ZONE
   401 Banison Complex
63 Old Padra Rd, Haribhakti Extension                                                            kartikey.hariyani@chargezone.com   December 16, 2021          $0.00
   Paris Nagar, Diwalipura
   Vadodara, Gujarat 390007, India
   Chilling, Inc.                                 Chilling, Inc.
64 5000 Centregreen Way, Ste 500                  8 The Green                                    christopher@gitlab.com             September 16, 2021         $0.00
   Cary, NC 27560                                 Dover, DE, 19901
   Chop Barbershop Franchise Inc.                 Chop Barbershop Franchise Inc.
   Sarah Bolinder                                 3845 Killearn Ct
65                                                                                               steve@chopbarbershop.com             October 27, 2020         $0.00
   7737 Preservation Rd                           Tallahassee, FL 32309
   Tallahassee, FL 32312
   Circle (Electronics (B2C))
   Zakariya Niazi                                                                                zak@circleoptics.com;
66                                                                                                                                    January 21, 2021         $0.00
   260 E Main St                                                                                 zniazi@circleoptics.com
   Rochester, NY 14604
   ClasShare
67 2714 Rosedale Ave                                                                             wei@classhare.com                   February 12, 2021         $0.00
   Raleigh, NC 27607
   CleanPlan                                      CleanPlan
68 Suite 9/758, Blackburn Road                    105 Ricketts Rd                                stuart@cleanplan.com                     July 2, 2021         $0.00
   Clayton VIC 3168, Australia                    Mount Waverley VIC 3149, Australia
   ClearForce, Inc.
69 8000 Towers Crescent Dr Ste 1525                                                              tmiller@clearforce.com              February 22, 2021         $0.00
   Vienna, VA 22182
   Clearview Care Inc d/b/a Clearview Home Care   Clearview Care Inc d/b/a Clearview Home Care
   Rizwan Habib                                   7000 Central Parkway
70                                                                                               rizwan@clearviewhomecare.com         October 27, 2020         $0.00
   6615 Sterling Dr                               Atlanta, GA, 30328
   Sandy Springs, Georgia, 30328
   CloudTown Brands
71 Carrer de Joan d'Àustria 86                                                                   miguel@cloudtownbrands.com           February 3, 2023         $0.00
   08018 Barcelona, Spain
   CloutHub, Inc.
72 8583 Irvine Center Drive #445                                                                 jlemme@clouthub.com                November 12, 2021          $0.00
   Irvine, CA 92618
   Cmax System inc.                               Cmax System inc.
   Nicolas Garcia Mayor                           1101 Pennsylvania Ave NW
73                                                                                               nicolas@cmaxsystem.com             November 30, 2020          $0.00
   2200 Pennsylvania Ave NW                       Washington, DC 20004
   Washington, DC 20037

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# Warrant Counterparty                      Alternate Mailing Address                   E-mail                            Contract Date        Cure Amount
   CodeBoxx Technology Corporation
   Nicolas Genest
74                                                                                      nicolas.genest@codeboxx.biz       November 30, 2020          $0.00
   1 Harbor Dr Ste 300
   Sausalito, CA 94965
   CollectiveCrunch                                                                     cd@collectivecrunch.com;
75 Keilaranta 6                                                                         jsonninen@collectivecrunch.com;     January 23, 2023         $0.00
   02150 Espoo, Finland                                                                 rs@collectivecrunch.com
   College Aid Pro                          College Aid Pro
   Joseph Messinger                         10 Federal St
76                                                                                      joem@collegeaidpro.com            November 30, 2020          $0.00
   6037 Frantz Rd Ste 104                   Salem, MA 01970
   Dublin, OH 43017
   ConnectSx
   Chris Riedel
77                                                                                      chris@connectsx.com               November 30, 2020          $0.00
   9301 W 191st St
   Mokena, IL 60448
   Constructo, Inc.                         Constructo, Inc.
   Yuri Galeev                              910 Campisi Way
78                                                                                      yuri@constructo.online            November 30, 2020          $0.00
   6414 Samar Dr                            Campbell, CA 95008
   San Jose, CA 95119
   ControlPoint Inc
79 88 S 4th St                                                                          paula@controlpointdx.com            January 24, 2022         $0.00
   Campbell, CA 95008
   CountN Inc
   Matthew Yuan
80                                                                                      matthew.yuan@countnapp.com          October 29, 2020         $0.00
   399 Boylston St, FL 6
   Boston, MA 02116
   Credder Inc.                             Credder Inc.
                                                                                        austin@credder.com;
81 106 EDITH ST UNIT A                      One Sansome St                                                                 February 25, 2021         $0.00
                                                                                        chase@credder.com
   Petaluma, CA 94952                       San Francisco, CA 94104
   CreditStretcher A/S d/b/a Fellow Pay     CreditStretcher A/S d/b/a Fellow Pay
   Jacob Vorsø Pedersen                     Applebys Pl. 7
82 Copenhagen Fintech Lab                   1411 København, Denmark                     ds@fellowpay.com                  November 30, 2020          $0.00
   Applebys Plads 7
   1411 Copenhagen, Denmark
   Crowded Technologies Inc.                                                            daniel@bankingcrowded.com;
83 1330 Avenue of the Americas                                                          john@crowded.me;                  November 25, 2021          $0.00
   New York, NY 10019                                                                   liam@crowded.co
   Cruz Street                              Cruz Street
   Jesse Cruz                               P.O. Box 690037
84                                                                                      jesse@cruzstreet.com               November 6, 2020          $0.00
   3055 Cardinal Dr Ste 301                 Vero Beach, FL 32969-0037
   Vero Beach, FL 32963
   CubeCab
   Adrian Tymes
85                                                                                      atymes@cubecab.com                November 30, 2020          $0.00
   2375 Adele Ave.
   Mountain View, CA 94043



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# Warrant Counterparty                                   Alternate Mailing Address                             E-mail                             Contract Date        Cure Amount
   DBYDX Technologies Private Limited d/b/a Chatgen.ai   DBYDX Technologies Private Limited d/b/a Chatgen.ai
   Time Square Building                                  A/308, 3rd Floor, Neptune Magnet Mall, Mumbai,
86                                                                                                             suvindh@chatgen.ai                    March 30, 2021          $0.00
   Andheri East                                          Maharashtra, 400042, India
   MUMBAI 400069, Maharashtra, India
   Deinland Solar Development GmbH
                                                                                                               hanno@deinland.solar;
87 Neuer Wall 80                                                                                                                                  November 15, 2022          $0.00
                                                                                                               hs@deinland.solar
   20354 Hamburg, Germany
   DELMIC BV
   Sander den Hoedt
88                                                                                                             hoedt@delmic.com                     October 27, 2020         $0.00
   Kanaalweg 4
   2628 EB Delft, Netherlands
   Diamante Blockchain Holdings Inc                      Diamante Blockchain Holdings Inc
89 15621 W 87th St Pkwy                                  Str. le Grazie, 15                                    valentina.garonzi@diamante.tech     February 17, 2023         $0.00
   Lenexa, KS 66219                                      37134 Verona VR, Italy
   DOMICILIALO (Tadosi)                                  DOMICILIALO (Tadosi)
   CARLOS SUREDA                                         C. de Arturo Soria, 31, Portal B
90 C/ San Millán 12                                      28027 Madrid, Spain                                   carlos@domicilialo.es                October 27, 2020         $0.00
   26142 Villamediana de Iregua
   La Rioja, Spain
   Domotics RE-Technologies, LLC                                                                               jasonl@domoticsre.com;
91 23 Catoonah Street                                                                                          joshl@domoticsre.com;               February 28, 2023         $0.00
   Ridgefield, CT 06877                                                                                        michael@domoticsre.com
   Dope Dog                                              Dope Dog
   Erin Mastopietro                                      7111 Santa Monica Blvd                                michael@dope.dog;
92                                                                                                                                                November 30, 2020          $0.00
   7192 Formosa Fusion Ct                                West Hollywood, CA 90046                              erin@dope.dog
   Los Angeles, CA 90046
   Dr. B Dental Solutions                                Dr. B Dental Solutions
                                                                                                               drb@drbdentalsolutions.com;
93 1521 Alton Rd, 329                                    407 Lincoln Rd                                                                           September 12, 2022         $0.00
                                                                                                               jpberland@drbdentalsolutions.com
   Miami, FL 33139                                       Miami, FL 33139
   Dream Harvest Ltd
   Justin French
94                                                                                                             justinfrench@dreamharvest.co.uk    November 30, 2020          $0.00
   86 Gloucester Road
   Brighton, East Sussex BN1 4AP, United Kingdom
   Earth Cubs Limited
                                                                                                               jon@earthcubs.com;
95 92 Penwortham Road                                                                                                                             November 26, 2021          $0.00
                                                                                                               toby@earthcubs.com
   London, SW16 6RJ, United Kingdom
   Easy Eat Pte Ltd                                      Easy Eat Pte Ltd
   Wassem Mohammad                                       160 Robinson Rd
96 38th Floor, Mercu 2, No.3                             Singapore 068914                                      wassem@easyeat.ai                  November 30, 2020          $0.00
   Jalan Bangsar, Kampung Haji Abdullah Hukum
   Kuala Lumpur, 59200, Malaysia
   Easy Eat Pte. Ltd.
97 160 Robinson Road #23-08                                                                                    wassem@easyeat.ai                     March 28, 2023          $0.00
   SBF Center 068914, Singapore
   Edsoma Inc.                                           Edsoma Inc.
                                                                                                               bluechip@edsoma.com;
98 2021 Eagles Ridge Dr                                  7500 W Interstate 20                                                                       February 3, 2022         $0.00
                                                                                                               kyle@edsoma.com
   Brock, TX 76087                                       Weatherford, TX 76088-8201

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 # Warrant Counterparty                        Alternate Mailing Address                          E-mail                       Contract Date        Cure Amount
    EirSystems Inc                             EirSystems Inc
    Ryan Seaberg                               100 W Martin Luther King Blvd                      rseaberg@eirsystems.net;
 99                                                                                                                            November 30, 2020          $0.00
    844 East 4th St 2nd Floor                  Chattanooga, TN 37402                              tseaberg@eirsystems.net
    Chattanooga, TN 37403
    Elevateapp, llc d/b/a Reju
100 1401 New York Ave NE Apt 377                                                                  awarrick@getelevateapp.com         July 8, 2021         $0.00
    Washington, DC 20002
    Elifinty                                   Elifinty
    Maysam Rizvi                               124 City Rd                                        maysam@elifinty.com;
101                                                                                                                             December 7, 2020          $0.00
    152-160 City Road                          London EC1V 2NX, UK                                maysam.rizvi@elifinty.com
    London, EC1V 2NX, United Kingdom
    E-liza Dolls
102 605 Ohlone Ave Apt 636                                                                        eliza@elizadolls.com          November 8, 2022          $0.00
    Albany, CA 94706
    Ember Fund                                                                                    alex@emberfund.io;
    12130 Millennium Dr                                                                           guillaume@emberfund.io;
103                                                                                                                             November 6, 2021          $0.00
    Los Angeles, CA 90094                                                                         hayden@emberfund.io;
                                                                                                  mario@emberfund.io
    emoquo                                     emoquo
    1 Rectory Cottages                         The Studio                                         jim.bailey@emoquo.com;
104                                                                                                                             February 16, 2022         $0.00
    East End, East Woodhay                     1 Rectory Cottages                                 tim.aston@emoquo.com
    Newbury, RG20 0AJ, United Kingdom          East End, East Woodhay, Newbury RG20 0AJ, UK
    Equa                                       Equa
    Shawn Owen                                 1499 W 120th Ave                                   josh.jacobson@equa.global;
105                                                                                                                            November 30, 2020          $0.00
    3601 W 97th Ave                            Westminster, CO 80234                              sten@equa.global
    Westminster, CO 80031
    Esca Technologies Ltd                      Esca Technologies Ltd
    26 Killucan Manor Cres                     Harcourt Rd
106                                                                                               hello@esca.finance              March 16, 2022          $0.00
    Rathwire Upper, Killucan                   Saint Kevin's, Dublin D02 HW77, Ireland
    Co. Westmeath, N91 NY77, Ireland
    Ethale Publishing Lda                      Ethale Publishing Lda
107 Via Romana 21                              AV. Vladimir Lenine nr, Maputo, 2195, Mozambique   info@ethalebooks.com              April 9, 2021         $0.00
    06012, Citta di Castello, PERUGIA, Italy
    eTip.io
                                                                                                  nicolas@etip.io;
108 595 Pacific Ave                                                                                                              October 26, 2021         $0.00
                                                                                                  robert@etip.io
    San Francisco, CA 94133
    ETLrobot                                   ETLrobot
                                                                                                  gickling@etlrobot.com;
109 14203 Minuteman Drive                      1782 Tuscalee Way                                                                    May 27, 2021          $0.00
                                                                                                  steve@etlrobot.com
    Draper, UT 84020                           Draper, UT 84020
    Eventboost
                                                                                                  aferne@eventboost.com;
110 Corso S. Gottardo 14                                                                                                        February 18, 2022         $0.00
                                                                                                  fbondi@eventboost.com
    6830 Chiasso, Switzerland
    Evitado Technologies
111 Harburger Schloßstraße 6-12                                                                   alex.kasinec@evitado.io            June 9, 2022         $0.00
    21079 Hamburg, Germany



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 # Warrant Counterparty                           Alternate Mailing Address                   E-mail                             Contract Date        Cure Amount
    EvoAId Kft.
112 Árpádföldi út 90-1162                                                                     gergo.nagy@evoaid.com                   June 23, 2022         $0.00
    Budapest, 1162 Hungary
    ExeBoard
    Andres Rodriguez
113 Via 4, 1-00 zona 4                                                                        andres@exeboard.com                November 30, 2020          $0.00
    Campus Tec 1, Of. 607
    Guatemala, Guatemala, 01004, Guatemala
    EXOS Aerospace Systems & Technologies, Inc.
    John Quinn
114                                                                                           dmitchell@exosaero.com             November 30, 2020          $0.00
    299 FM 1903
    Greenville, TX 75402
    Exo-Space, Inc.
115 484 E California Blvd                                                                     carol.craig@sidusspace.com              July 25, 2022         $0.00
    Pasadena, CA 91106
    Eze Technologies Inc
                                                                                              david@ezewholesale.com;
116 4943 McConnell Ave Ste W                                                                                                           July 5, 2022         $0.00
                                                                                              josh@ezewholesale.com
    Los Angeles, CA 90066
    Fabalish
    Paul Majcherczyk                                                                          jessica@fabalish.com;
117                                                                                                                              November 30, 2020          $0.00
    186 Maple Ave                                                                             paul@fabalish.com
    Wallington, NJ 07057
    Fairspectrum Oy                               Fairspectrum Oy
118 Itäinen Pitkäkatu 4                           Saukonpaadenranta 4 B 30                    heikki.kokkinen@fairspectrum.com        May 17, 2021          $0.00
    20520 Turku, Finland                          00180 Helsinki, Finland
    FanFood                                       FanFood
    Carson Goodale                                540 N Dearborn St
119                                                                                           carson@fanfoodapp.com              November 30, 2020          $0.00
    116 W Hubbard St Ste 38                       Chicago, IL 60620
    Chicago, IL 60654
    Filmplace HQ Pte Ltd                          Filmplace HQ Pte Ltd
    Lincoln Lin                                   2 Orchard Link
120                                                                                           lincoln.lin@filmplace.co           November 30, 2020          $0.00
    6 Raffles Blvd                                Singapore 237978
    Marina Square, 039594, Singapore
    FIN Compliance                                FIN Compliance
    Cory Roberson                                 2950 Buskirk Ave
121                                                                                           cory@fincompliance.io              November 30, 2020          $0.00
    2950 Buskirk Ave Ste #300                     Walnut Creek, CA 94597
    Vallejo, CA 94591
    Firehawk Aerospace                            Firehawk Aerospace
122 949 First St SE                               4550 Excel Pkwy                             will@firehawkaerospace.com          February 15, 2021         $0.00
    Washington, DC 20003                          Addison, TX 75001
    FirstMate Services                            FirstMate Services
123 221 Claude St                                 209 West St                                 jhemingway@firstmateservices.com        May 15, 2021          $0.00
    Annapolis, MD 21401                           Annapolis, MD 21401
    Fit Mix                                       Fit Mix
    Kevin Mathis                                  1380 Rio Rancho Blvd                                                           November 30, 2020
124                                                                                           kmathis@fitmixonline.com                                      $0.00
    224 Valle Alto Dr. NE                         Rio Rancho, NM, 87124                                                            January 26, 2021
    Rio Rancho, NM 87124

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 # Warrant Counterparty                                Alternate Mailing Address                            E-mail                            Contract Date        Cure Amount
    Flickstree Productions Pvt Ltd
    Saurabh Singh
    A 814-16 Kailas Business Park                                                                           nagender.sangra@flickstree.com;
125                                                                                                                                           December 28, 2022          $0.00
    Jogeshwari - Vikhroli Link Rd                                                                           saurabh@flickstree.com
    Hiranandani Gardens
    Vikhroli West, Mumbai, Maharashtra 400079, India
    FLITE Material Sciences US Inc.                    FLITE Material Sciences US Inc.
126 6 Liberty Square #524                              7460 Av. Glenwood                                    dan.cohen@flite.tech                October 10, 2022         $0.00
    Boston, MA 02143                                   Montréal, QC H3R 2T1, Canada
    FLYX Entertainment Inc.
127 25 Hazelwood Ave                                                                                        shashank@flyx.me                       June 30, 2021         $0.00
    Livingston, NJ 07039
    Framey
    2nd Floor
128                                                                                                         robert@framey.io                  November 30, 2020          $0.00
    156 Wellington St
    Central, Hong Kong
    FreightPal Inc.                                    FreightPal Inc.
    Chris Dominguez                                    2656 Skywin Way
129                                                                                                         chris@freightpal.com                January 21, 2021         $0.00
    3940 Laurel Canton Blvd Ste #1195                  Los Angeles, CA 90046
    Studio City, CA 91604
    FuelingAround                                      FuelingAround
130 503 Crystal Green Mews                             2 Winters Way                                        trent@fuelingaround.com              March 31, 2021          $0.00
    Okotoks AB T1S 2K6, Canada                         Okotoks, AB T1S 1W9, Canada
    Fullcast.io
131 16710 NE 79th Pl, Ste 202                                                                               dharmesh@fullcast.io                February 9, 2021         $0.00
    Redmond, WA 98052
    FULLYOPS - PROCESS DIGITALISATION, LDA             FULLYOPS - PROCESS DIGITALISATION, LDA               catia.goncalves@fullyops.com;
    Rua Santos Pousada                                 Rua de Santos Pousada 441                            pedro.morgado@fullyops.com;
132                                                                                                                                                 July 7, 2022         $0.00
    4000-534 Porto, Portugal                           4000-487 Porto, Portugal                             ricardo.borga@fullyops.com;
                                                                                                            ricardo.oliveira@fullyops.com
    Fundamentally Games
    Ella Romanos                                                                                            ella@fundamentally.games;
133                                                                                                                                            November 4, 2020          $0.00
    3rd Floor, 86-90 Paul St                                                                                oscar@fundamentally.games
    London EC2A 4NE, UK
    Fusion Engineering
                                                                                                            rcrone@fusion.engineering;
134 Kluyverweg 1                                                                                                                                    July 9, 2021         $0.00
                                                                                                            robert@fusion.engineering
    2629 HS Delft, Netherlands
    Helena Edtech Private Limited (EduFund)            Helena Edtech Private Limited (EduFund)
135 517 Irving Ave                                     30, Omkar House, Near Swastik Char Rasta, Ahmedabad, eela@edufund.in                   December 16, 2021          $0.00
    Endicott, NY 13760                                 Gujarat, 380009, India
    HEXANIKA                                           HEXANIKA
    Yogesh Pandit                                      419 Main St                                          yogesh.pandit@hexanika.com;
136                                                                                                                                           November 30, 2020          $0.00
    40 DuClair Ct                                      Little Rock, AR 72114                                ypandit@hexanika.com
    Little Rock, AR 72224
    HUSH International INC d/b/a ANNEX
137 56 Whitman Dr                                                                                           concierge@itsannex.com                 April 5, 2022         $0.00
    Brooklyn, NY 11234

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 # Warrant Counterparty                                      Alternate Mailing Address                               E-mail                                  Contract Date        Cure Amount
    IMGX INC d/b/a ImagineX
138 301 Congress Ave Ste 2200                                                                                        mvaron@imagine-x.co                          May 13, 2022          $0.00
    Austin, TX 78701
    IoTExpress Technologies Pvt Limited d/b/a Bytebeam
    WeWork
                                                                                                                     gautam@bytebeam.io;
139 Prestige Atlanta                                                                                                                                         September 26, 2021         $0.00
                                                                                                                     raviteja@bytebeam.io
    80 Feet Rd
    Koramangala, Bengaluru, Karnataka 560034, India
    Krazzy Fin Pvt Ltd d/b/a BULLSPREE
    527, Krazzy Fin Pvt Ltd.
140 Shivalik Satyamev                                                                                                dharmil@bullspree.com                       April 28, 2022         $0.00
    Sardar Patel Ring Rd, Junction, Ambli - Bopal Rd,
    Ahmedabad, Gujarat 380058, India
    Mitienda Labs                                            Mitienda Labs
                                                                                                                     admin@mitiendalabs.com;
141 1732 1st Ave #28507                                      Avenida Eloy Alfaro & De los Juncos                                                                 April 27, 2021         $0.00
                                                                                                                     sebastian.valdivieso@mitiendalabs.com
    New York, NY 10128                                       Quito 170144, Ecuador
    MyCancerDB LLC d/b/a ennov1
    Bruce Quackenbush
142                                                                                                                  apopp@mycancerdb.com                    November 30, 2020          $0.00
    77 Havemeyer Ln Unit 67
    Stamford, CT 06902
    P2P Technology Hub SRL (Feexers)                         P2P Technology Hub SRL (Feexers)
    Eusediu Margasoiu                                        Strada Nouă
143                                                                                                                  eusediu.margasoiu@feexers.com           November 28, 2020          $0.00
    str. Leonida nr. 19                                      Cornu de Jos 107175, Romania
    Bucharest, București, 020555, Romania
    Pick and Think SAPI de CV d/b/a Aiween                   Pick and Think SAPI de CV d/b/a Aiween
    C. Montes Urales 745                                     Av. Santa Fe 94-Torre A Piso 8 of 1                     cecilia@aiween.com;
144                                                                                                                                                               April 2, 2021         $0.00
    Lomas - Virreyes, Lomas de Chapultepec, Miguel Hidalgo   Santa Fe, Zedec Sta Fé, Álvaro Obregón                  lunaballato@gmail.com
    11000 Ciudad de México, CDMX, Mexico                     01376 Ciudad de México, CDMX, Mexico
    QuickSafety                                              QuickSafety
    Kurt Alexander                                           52 University Dr
145                                                                                                                  k.alexander@quicksafety.com.au            October 27, 2020         $0.00
    375 Wickham Terrace                                      Sunshine Coast, Queensland, 4556, Australia
    Spring Hill QLD 4000, Australia
    Random Monkey, INC d/b/a Datasketch                      Random Monkey, INC d/b/a Datasketch
146 1166 Birchwood Rd                                        Calle 71                                                jpmarindiaz@datasketch.co                  August 26, 2021         $0.00
    Weston, FL 33327                                         Bogotá, Colombia
    Restworld
    I3P - Incubatore del Politecnico
147                                                                                                                  luca@restworld.it                             May 4, 2021          $0.00
    Corso Castelfidardo, 30/a
    10129 Torino TO, Italy
    SNFood & Beverage LLC d/b/a Carbliss
                                                                                                                     akroener@drinkcarbliss.com;
148 N5298 Kyle Court                                                                                                                                            March 16, 2021          $0.00
                                                                                                                     amanda@drinkcarbliss.com
    Plymouth, WI 53073
    Sokoni Online Ltd d/b/a AfricaSokoni                     Sokoni Online Ltd d/b/a AfricaSokoni
149 Pili Trade Centre Building                               Pili Trade Centre, 2nd Floor SGR road off Mombasa Road, efatty@africasokoni.co.ke                   April 18, 2022         $0.00
    Nairobi, Nairobi County, 00276, Kenya                    Nairobi, 00519, Kenya



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 # Warrant Counterparty                             Alternate Mailing Address                       E-mail                              Contract Date        Cure Amount
    Stargate Tech Pvt. Ltd. d/b/a BoStreet
150 D1615, Divyasree 77 Place                                                                       kunal@stargate-inc.com                August 26, 2021          $0.00
    Bangalore 560037, Karnataka, India
    Syaiful Lokan d/b/a ICANDO                      Syaiful Lokan d/b/a ICANDO
                                                                                                    liphin@icando.co.id;
151 Jl. Gading Lavender No 6                        Kirana Two Office Tower Lt. 10-A                                                      October 29, 2021         $0.00
                                                                                                    syaiful@icando.co.id
    Jakarta Utara, DKI Jakarta, 14250, Indonesia    North Jakarta, 14250, Indonesia
    Tecnologias y Servicios Tiemporeal S.L. d/b/a   Tecnologias y Servicios Tiemporeal S.L. d/b/a
    AgroPestAlert                                   AgroPestAlert
152                                                                                                 louis.holder@agropestalert.com       February 26, 2021         $0.00
    Polígono Mocholí                                Ciudad Agroalimentaria de Tudela
    Pl. Cein, 5                                     Serna, C. D, 31500 Tudela, Navarra, Spain
    The Eventors Inc
153 1617 Cosmo St                                                                                   oshri@eventors.com                       June 29, 2021         $0.00
    Los Angeles, CA 90028
    Tidy Technologies Inc. d/b/a Cleanster.com      Tidy Technologies Inc. d/b/a Cleanster.com
    Derrick Agyiri                                  2021 Guadalupe St
154                                                                                                 gloria@cleanster.com                  January 21, 2021         $0.00
    16192 Coastal Hwy                               Austin, TX 78705
    Lewes, DE 19958
    UAB Keliu sistemos (Cargo Stream)
    Skirmantas Rimkus
155                                                                                                 sarunas@cargostream.co                January 29, 2021         $0.00
    Gedimino pr. 33
    01104 Vilnius, Lithuania
    Viell,Inc d/b/a Fanluv
156 312 Arizona Ave                                                                                 ertunc@viell.co                      February 11, 2021         $0.00
    Santa Monica, CA 90401
    Vliso Inc. d/b/a Chow420                        Vliso Inc. d/b/a Chow420
157 200 N 16th St #1405                             1000 8th Ave                                    david@chow420.com                    February 24, 2022         $0.00
    Philadelphia, PA 19102                          New York, NY 10019
    Wifly                                           Wifly
158 C. del Dr. Esquerdo, 183                        C. del Príncipe de Vergara, 57                  jaime.sacristan@wiflymobility.com    November 4, 2021          $0.00
    28007 Madrid, Spain                             28006 Madrid, Spain




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                                   Exhibit “2”

                         Form of Non-Disclosure Agreement
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                                           PEAK Technology Partners, LLC
                                               135 Main St Suite 1300
                                              San Francisco, CA 94105

                                     MUTUAL NON-DISCLOSURE AGREEMENT

  This Mutual Non-Disclosure Agreement (“Agreement”), dated as of ______________ is made by and between
  PEAK Technology Partners, LLC (“PEAK”) and ______________________ (the “Company”). PEAK and the
  Company would like to protect the confidentiality of, maintain their respective rights in, and prevent the
  unauthorized use and disclosure of their valuable confidential information. Accordingly, PEAK and the Company
  hereby agree as follows:

       1. CONFIDENTIAL INFORMATION. As used
  in this Agreement, “Confidential Information” means               4. RECEIVING PARTY PERSONNEL. The
  all nonpublic information disclosed by one party or its      Receiving Party shall restrict the possession,
  agents (“Disclosing Party”) to the other party or its        knowledge and use of Confidential Information to its
  agents (“Receiving Party”) that is designated as             employees, contractors, professional advisors, and
  confidential or that, given the nature of the information    entities controlled by it (collectively, “Personnel”) who
  or the circumstances surrounding its disclosure,             have a need to know Confidential Information in
  reasonably should be considered as confidential.             connection with the parties’ business relationship, and
  Confidential Information includes, without limitation (i)    such Personnel shall be bound by and subject to the
  nonpublic information relating to the Disclosing Party’s     terms of this Agreement as if they were a party hereto.
  technology, customers, business plans, promotional
  and marketing activities, finances and other business              5. DISCLOSURES            TO      GOVERNMENT
  affairs, and (ii) third-party information that the           ENTITIES.       The Receiving Party may disclose
  Disclosing Party is obligated to keep confidential.          Confidential Information as required to comply with
                                                               binding orders of governmental entities that have
       2. EXCLUSIONS.             Confidential Information     jurisdiction over it, provided that the Receiving Party
  does not include any information that (i) is or becomes      (i) gives the Disclosing Party reasonable notice (to the
  publicly available without breach of this Agreement, (ii)    extent permitted by law) to allow the Disclosing Party
  can be shown by documentation to have been known             to seek a protective order or other appropriate remedy,
  to the Receiving Party at the time of its receipt from       (ii) discloses only such information as is required by
  the Disclosing Party, (iii) is received from a third party   the governmental entity, and (iii) uses commercially
  who, to the knowledge of the Receiving Party, did not        reasonable efforts to obtain confidential treatment for
  acquire or disclose such information by a wrongful or        any Confidential Information so disclosed.
  tortious act, or (iv) can be shown by documentation to
  have been independently developed by the Receiving                6.    OWNERSHIP          OF     CONFIDENTIAL
  Party without reference to any Confidential                  INFORMATION. All Confidential Information shall
  Information.                                                 remain the exclusive property of the Disclosing Party.
                                                               The Disclosing Party’s disclosure of Confidential
       3. USE OF CONFIDENTIAL INFORMATION.                     Information shall not constitute an express or implied
  The Receiving Party may use Confidential Information         grant to the Receiving Party of any rights to or under
  only in pursuance of its business relationship with the      the Disclosing Party’s patents, copyrights, trade
  Disclosing Party. Except as expressly provided in this       secrets, trademarks or other intellectual property
  Agreement, the Receiving Party shall not disclose            rights.
  Confidential Information to anyone without the
  Disclosing Party’s prior written consent.          The            7. NOTICE OF UNAUTHORIZED USE. The
  Receiving Party shall take all reasonable measures to        Receiving Party shall notify the Disclosing Party
  prevent disclosure, dissemination or unauthorized use        immediately upon discovery of any unauthorized use
  of Confidential Information, including, at a minimum,        or disclosure of Confidential Information or any other
  those measures it takes to protect its own confidential      breach of this Agreement by the Receiving Party. The
  information of a similar nature. The Receiving Party         Receiving Party shall cooperate with the Disclosing
  shall not export any Confidential Information in any         Party in every reasonable way to help the Disclosing
  manner contrary to the export regulations of the United      Party regain possession of such Confidential
  States.                                                      Information and prevent its further unauthorized use.




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       8. RETURN               OF           CONFIDENTIAL           12.2        This Agreement constitutes the entire
  INFORMATION. The Receiving Party shall return or            agreement between the parties relating to the matters
  destroy all tangible materials embodying Confidential       discussed herein and may be amended or modified
  Information (in any form and including, without             only with the mutual written consent of the parties.
  limitation, all summaries, copies and excerpts of           Each party’s obligations hereunder are in addition to,
  Confidential Information) promptly following the            and not exclusive of, any and all of its other obligations
  Disclosing Party’s written request.            Upon the     and duties to the other party, whether express,
  Disclosing Party’s request, the Receiving Party shall       implied, in fact or in law. Subject to the limitations set
  provide written certification of its compliance with this   forth in this Agreement, this Agreement shall inure to
  Section.                                                    the benefit of and be binding upon the parties and their
       9. INJUNCTIVE RELIEF. The Receiving Party              respective successors and assigns.
  acknowledges that disclosure or use of Confidential              12.3        Any failure by either party to enforce
  Information in violation of this Agreement could cause      the other party’s strict performance of any provision of
  irreparable harm to the Disclosing Party for which          this Agreement shall not constitute a waiver of its right
  monetary damages may be difficult to ascertain or an        to substantially enforce such provision or any other
  inadequate remedy. The Receiving Party therefore            provision of this Agreement.
  agrees that the Disclosing Party shall have the right,           12.4        If a provision of this Agreement is held
  in addition to its other rights and remedies, to seek       invalid under any applicable law, such invalidity shall
  injunctive relief for any violation of this Agreement.      not affect any other provision of this Agreement that
                                                              can be given effect without the invalid provision.
       10. SCOPE; TERMINATION. This Agreement is              Further, any such invalid or unenforceable provision
  intended to cover the Confidential Information              or portion thereof shall be deemed, without further
  disclosed by each party both prior and subsequent to        action on the part of the parties hereto, modified,
  the date hereof. This Agreement automatically shall         amended or limited to the extent necessary to render
  terminate upon the completion or termination of the         the same valid and enforceable.
  parties’ business relationship; provided, however, that          12.5        This Agreement shall be governed by
  each party’s obligations with respect to the other          the internal laws of the State of Texas, without
  party’s Confidential Information shall survive for a        reference to its choice of law rules. The parties agree
  period of two (2) years following receipt of such           that the United States Bankruptcy Court for the
  Confidential Information.                                   Western District of Texas shall have the exclusive
                                                              jurisdiction to enforce the terms of this Agreement
       11. INDEPENDENT DEVELOPMENT.                   The     and consent to the entry of final orders and judgment
  Disclosing Party acknowledges that the Receiving            by the Bankruptcy Court in any such matter. This
  Party may currently or in the future be developing          Agreement may be executed by facsimile and in
  information internally, or receiving information from       counterpart copies.
  other parties, that is similar to the Confidential
  Information. Accordingly, nothing in this Agreement         The parties have executed this Agreement as of the
  shall be construed as a representation or agreement         date first written above.
  that the Receiving Party shall not develop, or have
  developed for it, products, concepts, systems or            [Signatures on Following Page]
  techniques that are similar to or compete with the
  products, concepts, systems or techniques
  contemplated by or embodied in the Confidential
  Information, provided that the Receiving Party does
  not violate any of its obligations under this Agreement
  in connection with such development.

       12. MISCELLANEOUS
       12.1        This Agreement shall not create a
  joint venture, partnership or other formal business
  relationship or entity of any kind, or an obligation to
  form any such relationship or entity. Each party shall
  act as an independent contractor and not as an agent
  of the other party for any purpose, and neither shall
  have the authority to bind the other.




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  PEAK TECHNOLOGY PARTNERS, LLC                Company:________________________________


  By:______________________________            By:_______________________________________

  Printed Name: Chad Harding                   Printed Name:_______________________________

  Title: Managing Partner                      Title:______________________________________

  Date:______________________________          Date:______________________________________

  Address: 135 Main St Suite 1300              Address:___________________________________
         San Francisco, CA 94105
                                               __________________________________________

                                               __________________________________________




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                                   Exhibit “3”

                         Form of Asset Purchase Agreement
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                                                                DRAFT 12/19/2023




                           ASSET PURCHASE AGREEMENT

                                       Between

                           ASTRALABS, Inc., d/b/a “Newchip”



                                     as the Seller,



                                          and


                                   [PURCHASER],


                                    as the Purchaser




                               Dated as of _______, 2024
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                                  ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT, dated as of ____________, 2024, is made by and
between (i) ASTRALABS, Inc., d/b/a “Newchip” (the “Seller”), as seller, and (ii) __________________
(the “Purchaser”), as purchaser.

                                            PREAMBLE

        WHEREAS, the Seller, in connection with operating an incubator for its customers (which
included start-up and early stage companies) (“Members”), entered into membership and/or services
agreements with the Members (the “Membership Agreements”) pursuant to which, among other things,
the Seller agreed to provide access to such Members to the Seller’s services and resources, including its
accelerator program;

         WHEREAS, the Seller, in connection with entering into Membership Agreements with Members
(and/or similar or related agreements with other customers), has acquired a portfolio of warrants
(the “Warrants”) issued to the Seller by certain of such Members (and/or other Persons) that grant rights to
the Seller to acquire securities from such Members (and/or Persons) under such Warrants;

        WHEREAS, on March 17, 2023 (the “Petition Date”), the Seller filed a voluntary petition for relief
under Chapter 11, Subchapter V, of title 11 of the United States Code, §§ 101, et seq. (as amended,
the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western District of Texas, Austin
Division (the “Bankruptcy Court”), and which case has been assigned Case No. 23-10164
(the “Bankruptcy Case”);

       WHEREAS, on May 12, 2023, the Bankruptcy Court entered its Order [Docket No. 89] converting
the Bankruptcy Case to one under Chapter 7 of the Bankruptcy Code, and on May 12, 2023, the
Bankruptcy Court appointed Randolph N. Osherow as the Chapter 7 trustee (the “Trustee”) to oversee the
administration and management of the Seller’s bankruptcy estate arising under section 541 of the
Bankruptcy Code (the “Estate”), its assets, and financial affairs;

        WHEREAS, the Trustee has determined that a reasonably prompt disposition of the Warrants held
by the Seller that are listed or described on Appendix I attached hereto (collectively, the “Designated
Securities Warrants”) is necessary in order to preserve any value inherent in the Warrants for the benefit
of the Seller’s Estate and its creditors and stakeholders;

         WHEREAS, on September 6, 2023, the Bankruptcy Court entered an order authorizing the Trustee
to retain PEAK Technology Partners, LLC (the “Sale Agent”) to act as the Seller’s agent in connection
with its marketing and sale of the Estate’s assets, including Warrants;

        WHEREAS, Purchaser desires to acquire the Designated Securities Warrants;

         WHEREAS, upon the terms and subject to the conditions set forth herein and pursuant to
Sections 363 and 365 of the Bankruptcy Code, the Seller desires to sell, transfer, convey, assign, and
deliver to the Purchaser, and the Purchaser desires to purchase and accept from the Seller, the Designated
Securities Warrants as contemplated herein; and

        WHEREAS, the parties desire to consummate the Proposed Transactions (as defined below)
pursuant to this Asset Purchase Agreement, together with the appendices, exhibits, and schedules attached
hereto (collectively, this “Agreement”), as promptly as practicable after the Bankruptcy Court enters an
order approving the Proposed Transactions.



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         NOW, THEREFORE, in consideration of the foregoing and of the representations, warranties,
covenants, and agreements made herein and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto, intending to be legally bound, agree as
follows:

                                     ARTICLE 1. DEFINITIONS

        1.1    Definitions. The following words and terms as used in this Agreement shall have the
following meanings:

        “Action” means any demand, claim, action, suit or proceeding, arbitral action, inquiry, criminal
prosecution, or investigation by or before any Governmental Authority.

         “Affiliate” (and, with a correlative meaning, “affiliated”) means, with respect to any Person, any
other Person that directly, or through one or more intermediaries, controls or is controlled by or is under
common control with such Person, including any Subsidiary of such Person, and further encompasses the
definition of “Affiliate” set forth in section 101(2) of the Bankruptcy Code. As used in this definition,
“control” (and, with correlative meanings, “controlled by” and “under common control with”) means
possession, directly or indirectly, of power to direct or cause the direction of management or policies
(whether through ownership of securities or other ownership interests, by contract or otherwise).

        “Agreement” has the meaning specified in the Preamble.

        “Assignment and Assumption Agreement” has the meaning specified in Section 4.2(b).

        “Assumed Liabilities” has the meaning specified in Section 2.2.

        “Bankruptcy Case” has the meaning specified in the Preamble.

        “Bankruptcy Code” has the meaning specified in the Preamble.

        “Bankruptcy Court” has the meaning specified in the Preamble.

        “Bid Procedures” means those certain bid procedures relating to the sale of certain Warrants that
were approved by the Bankruptcy Court pursuant to the Trustee’s Motion (I) for Authority to Sell
Designated Securities Warrants, Free and Clear of All Liens, Claims, and Encumbrances; (II) for Approval
of Notice, Sale, and Executory Contract Procedures; and (III) to Set Final Hearing to Approve Sale and
Good Faith Designation to Prevailing Purchaser(s).

       “Business Day” means a day other than a Saturday, Sunday, or other day on which the Federal
Reserve Bank of New York is closed for business.

        “Closing” and “Closing Date” have the meanings specified in Section 4.1.

        “Closing Deadlines” has the meanings specified in Section 4.1.

        “Cure Amounts” means all amounts necessary to cure all defaults, if any, under the Designated
Securities Warrants and to pay all actual or pecuniary losses that have resulted from such defaults under the
Designated Securities Warrants, as determined by the Bankruptcy Court.

        “Deposit” has the meaning specified in Section 3.2.


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        “Designated Securities Warrants” has the meaning specified in the Preamble.

        “Effective Time” has the meaning specified in Section 4.1.

        “Estate” has the meaning specified in the Preamble.

         “Final Order” means an order which has not been reversed or vacated and not stayed or subject to
a stay, and as to which no motion to vacate, reconsider, alter, or amend shall be pending.

         “Governmental Authority” means any government, governmental entity, department,
commission, board, agency, or instrumentality, or any court, tribunal, or judicial body, in each case whether
federal, state, commonwealth, county, provincial, local, or foreign.

         “Governmental Order” means any Law, order, judgment, injunction, decree, stipulation, or
determination issued, promulgated, or entered by or with any Governmental Authority of competent
jurisdiction.

       “Law” means any law, ordinance, regulation, rule, code, or rule of common law, or otherwise of
any Governmental Authority.

         “Lien” means any security interest, pledge, mortgage, lien, charge, hypothecation, adverse claim of
ownership or use, restriction on transfer (such as a right of first refusal or other similar right), defect of title,
or other encumbrance of any kind or character.

        “Members” has the meaning specified in the Preamble.

        “Membership Agreements” has the meaning specified in the Preamble.

        “Other Transaction Documents” has the meaning specified in Section 5.2.

         “Permitted Encumbrances” means any rights of first refusal, rights of first offer, or similar rights
or restrictions on transfer that may be set forth in a Warrant for the benefit of the issuer of the Warrant,
including any right that allows the issuer of a Warrant to match and/or supersede the Purchaser’s bid to
acquire the Designated Securities Warranties for the Purchase Price set forth herein.

       “Person” means an individual, firm, partnership, limited liability company, association,
unincorporated organization, trust, corporation, or any other entity, including a Governmental Authority.

        “Petition Date” has the meaning specified in the Preamble.

         “Proposed Transactions” means all of the transactions contemplated hereby, including the
transfer, sale, conveyance, assignment, and delivery by the Seller to the Purchaser, and the acquisition by
the Purchaser from the Seller, of the Designated Securities Warrants as contemplated herein and the
performance by the parties of their respective covenants and obligations hereunder.

        “Purchase Price” has the meaning specified in Section 3.1.

        “Purchaser” has the meaning specified in the introductory paragraph to this Agreement.

        “Sale Agent” has the meaning specified in the Preamble.

        “Sale Approval Order” means an order of the Bankruptcy Court approving this Agreement and
the Proposed Transactions in the form of Exhibit A.

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         “Securities Act” means the Securities Act of 1933, as amended.

        “Seller” has the meaning specified in the introductory paragraph to this Agreement.

         “Tax” or “Taxes” means any federal, commonwealth, state, county, provincial, local, or foreign
income, gross receipts, sales, use, ad valorem, employment, severance, transfer, gains, profits, excise,
franchise, personal and real property, capital stock, premium, minimum and alternative minimum, or other
taxes, fees, levies, licenses, duties, assessments, or charges of any kind or nature whatsoever imposed by
any Governmental Authority (whether payable directly or by withholding and including any tax liability
incurred or borne as a transferee or successor or by contract, or otherwise), together with any interest,
surcharges, penalty (civil or criminal), or additional amounts imposed by, any Governmental Authority
with respect thereto.

        “Termination Date” has the meaning specified in Section 11.1(c).

        “Transaction Taxes” has the meaning specified in Section 4.4.

        “Trustee” has the meaning specified in the Preamble.

        “Warrants” has the meaning specified in the Preamble.

     ARTICLE 2. PURCHASE AND SALE OF DESIGNATED SECURITIES WARRANTS

         2.1      Purchase of the Designated Securities Warrants. Upon the terms and subject to the
conditions of this Agreement, at and as of the Effective Time, the Seller shall sell, transfer, convey, assign,
and deliver to the Purchaser, and the Purchaser shall purchase and accept from the Seller, all right, title, and
interest of the Seller (if any) in and to the Designated Securities Warrants.

         2.2     Assumed Liabilities. At and as of the Effective Time, the Purchaser shall assume any and
all of the Liabilities of the Seller, if any (collectively, the “Assumed Liabilities”), accruing or due to be
performed from and after the Effective Time pursuant to or in respect of all Designated Securities Warrants, if
any, and to the extent the Bankruptcy Court authorizes assumption and assignment of such Designated
Securities Warrants.
        2.3      Cure Amounts. The Purchaser shall pay all Cure Amounts (if any) in respect of the
Designated Securities Warrants at or prior to the Closing. Nothing in this Agreement or any Other
Transaction Document, nor the consummation of the Proposed Transactions, shall be construed as an
attempt or agreement to assign any Designated Securities Warrant unless and until the Purchaser shall have
paid the Cure Amounts (if any) with respect to such Designated Securities Warrant. The Purchase Price
shall not be reduced by any Cure Amounts paid by the Purchaser, and the Purchaser shall not be entitled to
any contribution from the Trustee or the Seller to reimburse the Purchaser for any such Cure Amounts.

         2.4      No Assignment of Membership Agreements. The parties hereto agree that the Seller is not
transferring to the Purchaser, and the Purchaser is not acquiring, any Membership Agreements.

                                   ARTICLE 3. CONSIDERATION

        3.1       Consideration. The purchase price payable by the Purchaser to the Seller in consideration
of the sale, transfer, conveyance, assignment, and delivery of the Designated Securities Warrants to the
Purchaser, and in reliance upon the representations, warranties, covenants, and agreements of the Seller set
forth herein, is an amount equal to $___________.00 (the “Purchase Price”). The Purchase Price will not
be reduced by any Cure Amounts (if any) paid by the Purchaser pursuant to Section 2.3. As additional

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consideration for the transfer of the Designated Securities Warrants to the Purchaser hereunder, the
Purchaser shall assume the Assumed Liabilities pursuant to Section 2.2.

        3.2     Deposit. The Purchaser has complied, and shall comply, with all provisions of the Bid
Procedures that require the Purchaser to make a deposit with the Sale Agent, including any provisions that
may require the Purchaser to increase the amount of its initial deposit if the Sale Approval Order in the
Bankruptcy Case designates the Purchaser as a Successful Bidder or a Back Up Bidder, as such terms are
defined in the Bid Procedures (such amounts, the “Deposit”). The Sale Agent shall hold and disburse the
Deposit pursuant to the terms and conditions of the Bid Procedures. If the Closing occurs, then on the
Closing Date, the Sale Agent shall deliver the Deposit to the Seller (and such Deposit will be credited
against the Purchase Price). If the Closing does not occur and this Agreement is terminated under
Section 11.1, then the Deposit will either be returned by the Sale Agent to the Purchaser, or delivered by
the Sale Agent to the Seller, in each case in accordance with the provisions of the Bid Procedures.

                                        ARTICLE 4. CLOSING

         4.1     Closing. The consummation of the Proposed Transactions (the “Closing”) shall take place
on the first Business Day following the satisfaction or waiver of all conditions set forth in Article 9 (other
than those conditions that by their terms are to be satisfied at the Closing) (the “Closing Date”)
commencing at 10:00 a.m. at the offices of Munsch Hardt Kopf & Harr, P.C., Hartland Plaza, 1717 West
6th Street, Suite 250, Austin, Texas 78703, and/or remotely by exchange of documents and signatures (or
their electronic counterparts), or at such other time, place and date as may be mutually agreed upon by the
Purchaser and the Seller. The Closing will be effective as of 12:01 a.m. (“Effective Time”) on the Closing
Date. Without limiting the foregoing, the Purchaser hereby agrees that (a) if the Purchaser is approved by
the Bankruptcy Court as a Successful Bidder, then the Purchaser will proceed towards and will
consummate the Closing no later than 5:00 p.m. (Central Time) on the first Business Day that is thirty (30)
days following the entry of the Sale Approval Order, and (ii) if the Purchaser is approved by the
Bankruptcy Court as a Back Up Bidder and the Trustee notifies the Purchaser in writing of his request to
proceed with the Purchaser due to a failed Closing with a Successful Bidder, then the Purchaser will
proceed towards and will consummate the Closing no later than 5:00 p.m. (Central Time) on the first
Business Day that is fifteen (15) days following the Trustee’s written notice to the Back Up Bidder (the
deadlines referred to in this sentence being the “Closing Deadlines”).

        4.2     The Seller’s Deliveries.

                 (a)       Delivery of Designated Securities Warrants. At or prior to the Closing, the Seller
        shall deliver to the Purchaser the Designated Securities Warrants, free and clear of all Liens other than
        Permitted Encumbrances, with the Purchaser hereby agreeing that any assignment of the Designated
        Securities Warrants to the Purchaser pursuant to this Agreement shall expressly be cum onere, together
        with, and including, such Permitted Encumbrances and any and all related provisions, rights, and
        obligations, but solely to the extent valid and enforceable under applicable law.

                 (b)     Assignment and Assumption Agreement. At or prior to the Closing, the Seller shall
        deliver to the Purchaser the Assignment and Assumption Agreement pertaining to the transfer of the
        Designated Securities Warrants by the Seller to the Purchaser, and the assumption of the Assumed
        Liabilities by the Purchaser duly executed by the Seller, substantially in the form of Exhibit B
        (the “Assignment and Assumption Agreement”).




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         4.3     The Purchaser’s Deliveries. At or prior to the Closing, the Purchaser shall deliver to the
Seller the following:

                 (a)     Purchase Price. By wire transfer of immediately available funds (pursuant to wire
        transfer instructions provided by the Trustee prior to Closing), an amount equal to the Purchase
        Price (less the Deposit);

              (b)     Assignment and Assumption Agreement. The Assignment and Assumption
        Agreement duly executed by the Purchaser; and

                (c)      Other Documents and Instruments. Such other endorsements, assignments,
        assumptions, instruments, and documents as may be reasonably requested by the Seller to
        consummate the Proposed Transactions, each in form and substance reasonably satisfactory to the
        Seller and its counsel.

        4.4     Transaction Taxes. Any Taxes that may be payable by reason of the sale of the Designated
Securities Warrants under this Agreement (including any transfer, sales, use, value added, gross receipts,
stamp, duty, stamp duty, documentary, registration, business and occupation, and other similar taxes)
(“Transaction Taxes”) shall be the responsibility and obligation of the Purchaser regardless of whether
any Tax authority seeks to collect such Taxes from the Seller or the Purchaser. Notwithstanding the
foregoing, in no event shall any party to this Agreement be responsible for the Taxes based on net income,
margin, or gain of the other party or parties that arises as a consequence of the consummation of the
Proposed Transactions.

          ARTICLE 5. REPRESENTATIONS AND WARRANTIES OF THE SELLER

        As a material inducement to the Purchaser to enter into this Agreement and consummate the
Proposed Transactions, the Seller hereby represents and warrants to the Purchaser that the statements
contained in this Article 5 are true and correct on the date hereof and as of the Closing Date (and the
Purchaser acknowledges that (i) the representations and warranties being made in this Article 5 are only
being made by the Seller and not by the Trustee, and (ii) the Trustee is not making, and has not made any,
representations or warranties to the Purchaser, whether under this Agreement or any other agreement).

        5.1      Organization. The Seller is duly organized, validly existing, and in good standing under
the laws of its state of formation, except as affected by the pendency of the Bankruptcy Case. The Seller
has heretofore made available to the Purchaser true, correct, and complete copies of its organizational
documents as are currently in effect.

        5.2       Authorization. Subject only to Bankruptcy Court approval pursuant to the Sale Approval
Order, the Seller has full power and authority to execute and deliver this Agreement and each agreement,
document, or instrument contemplated hereby (collectively, the “Other Transaction Documents”)
required to be delivered by it hereby or in connection herewith and to perform its obligations under this
Agreement and the Other Transaction Documents required to be delivered by it hereby or in connection
herewith and to consummate the Proposed Transactions. The execution and delivery by the Seller of this
Agreement and the Other Transaction Documents required to be delivered by Seller hereby or in
connection herewith and the performance by the Seller of Seller’s obligations hereunder and thereunder
have been duly and validly authorized by all necessary action on the part of the Seller. This Agreement and
each of the Other Transaction Documents required to be delivered by the Seller hereby or in connection
herewith have been, or when executed and delivered will have been, duly executed and delivered by the
Seller and is, or once executed will be, the valid and binding agreement of the Seller, enforceable against it
in accordance with their respective terms, subject to applicable bankruptcy, insolvency, reorganization,

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moratorium, and other similar Laws relating to or affecting the enforceability of creditors’ rights generally,
general equitable principles (regardless of whether enforcement is sought in a proceeding at law or in equity)
and the discretion of the courts in granting equitable remedies.

         5.3     Governmental Authority Authorizations and Other Consents. Subject only to Bankruptcy
Court approval pursuant to the Sale Approval Order, (i) no consent, approval, order, or authorization of, or
registration, declaration, or filing with, any Governmental Authority or other Person is required in
connection with the execution and delivery of this Agreement by the Seller, and (ii) no consent, approval,
order, authorization of, or registration, declaration, or filing with any Governmental Authority or other
Person is required in connection with the performance of this Agreement or the execution, delivery, or
performance by the Seller of the Other Transaction Documents required to be delivered by it hereby or in
connection herewith or the consummation by the Seller of the Proposed Transactions and fulfillment of and
compliance by the Seller with the terms and conditions of this Agreement and the Other Transaction
Documents required to be delivered by them hereby or in connection herewith.

       5.4      Financial Advisors. The Purchaser is not and will not become obligated to pay any fee or
commission or like payment to any broker, finder, or financial advisor as a result of the consummation of the
Proposed Transactions based upon any arrangement made by or on behalf of Seller or the Trustee.

        ARTICLE 6. REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

        As a material inducement to the Seller to enter into this Agreement and consummate the Proposed
Transactions, the Purchaser hereby represents and warrants to the Seller and the Trustee that the statements
contained in this Article 6 are true and correct on the date hereof and as of the Closing Date.

        6.1      Organization. The Purchaser is a [ENTITY TYPE] duly organized, validly existing, and in
good standing under the laws of the State of [STATE] and has all the requisite power and authority to own,
operate, and lease its properties and to carry on its business as it is now being conducted.

         6.2     Authorization. The Purchaser has full power and authority to execute and deliver this
Agreement and the Other Transaction Documents required to be delivered by it hereby or in connection
herewith, to perform its obligations under this Agreement and the Other Transaction Documents required to
be delivered by it hereby or in connection herewith, and to consummate the Proposed Transactions. The
execution and delivery by the Purchaser of this Agreement and the Other Transaction Documents required
to be delivered by it hereby or in connection herewith and the performance by the Purchaser of its
obligations hereunder and thereunder have been or will be duly and validly authorized by all necessary
action on the part of the Purchaser. This Agreement and each of the Other Transaction Documents required
to be delivered by the Purchaser hereby or in connection herewith have been, or when executed and
delivered will have been, duly executed and delivered by the Purchaser and is, or once executed will be, the
valid and binding agreement of the Purchaser, enforceable against it in accordance with their respective
terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium, and other similar Laws
relating to or affecting the enforceability of creditors’ rights generally, general equitable principles
(regardless of whether enforcement is sought in a proceeding at law or in equity), and the discretion of the
courts in granting equitable remedies.

         6.3     Noncontravention. None of the execution and delivery by the Purchaser of this Agreement
or any of the Other Transaction Documents required to be delivered by it hereby or in connection herewith,
the performance by the Purchaser of its obligations hereunder or thereunder, nor the consummation by the
Purchaser of the Proposed Transactions, will violate or conflict with, constitute a breach of or default under,
result in the loss of any benefit under, or permit the acceleration or increase the amount or scope of any
obligation under (i) the certificate of formation, operating agreement, or any other organizational document,

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as the case may be, of the Purchaser, (ii) any contract or agreement to which the Purchaser is a party or by
which the Purchaser (or any of its respective properties or assets) is subject or bound, (iii) any
Governmental Order to which the Purchaser is party or by which the Purchaser or any of its properties or
assets or any of the Designated Securities Warrants is bound, or (iv) any Law applicable to the Purchaser or
by which the Purchaser or any of its properties or assets are bound.

         6.4    Solvency; Availability of Funds. As of the Closing and immediately after consummating
the Proposed Transactions, the Purchaser will not be insolvent (either because its financial condition is such
that the sum of its debts is greater than the fair value of its assets or because the present fair value of its
assets will be less than the amount required to pay its probable liabilities on its debts as they become
absolute and matured). The Purchaser has or will have at the Closing sufficient funds to enable the
Purchaser to pay the Purchase Price in full at the Closing and consummate the Proposed Transactions. The
Purchaser has or will have at Closing sufficient access to capital to satisfy the Assumed Liabilities.

        6.5     Securities Laws Representations.

                 (a)     The Purchaser is familiar with the business and financial condition and operations
        of the Seller. The Purchaser has had access to such information concerning the Seller and the
        Designated Securities Warrants as it deems necessary to enable it to make an informed investment
        decision concerning the purchase of the Designated Securities Warrants. The Purchaser confirms
        that neither the Seller, the Trustee nor any of their Affiliates has (i) given any guarantee or
        representation as to the potential success, return, effect, or benefit (either legal, regulatory, tax,
        financial, accounting, or otherwise) of the purchase of the Designated Securities Warrants, or
        (ii) made any representation to the Purchaser regarding the legality of the purchase of the
        Designated Securities Warrants under applicable legal investment or similar laws or regulations.
        The Purchaser understands that no federal or state agency has passed upon the merits or risks of the
        purchase of the Designated Securities Warrants or made any finding or determination concerning
        the fairness or advisability of such purchase.

                (b)      The Purchaser understands and accepts that the purchase of the Designated
        Securities Warrants involves various risks, and the Purchaser has such knowledge, skill, and
        experience in business, financial, and investment matters that the Purchaser is capable of evaluating
        the merits and risks of the purchase of the Designated Securities Warrants. The Purchaser
        represents that it is able to bear any loss associated with the purchase of the Designated Securities
        Warrants. With the assistance of the Purchaser’s own professional advisors, to the extent that the
        Purchaser has deemed appropriate, the Purchaser has made its own legal, tax, accounting, and
        financial evaluation of the merits and risks of the purchase of the Designated Securities Warrants
        and the consequences of this Agreement. The Purchaser has considered the suitability of the
        Designated Securities Warrants as an investment in light of its own circumstances and financial
        condition and the Purchaser is able to bear the risks associated with the purchase of the Designated
        Securities Warrants and its authority to purchase the Designated Securities Warrants.

                (c)      The Purchaser is an “accredited investor” as defined in Rule 501(a) under the
        Securities Act. The Purchaser agrees to furnish any additional information requested by the Seller
        or any of its Affiliates to assure compliance with applicable U.S. federal and state securities laws in
        connection with the purchase and sale of the Designated Securities Warrants. Any information that
        has been furnished or that will be furnished by the Purchaser to evidence its status as an accredited
        investor is accurate and complete and does not contain any misrepresentation or material omission.
               (d)     The Purchaser is acquiring the Designated Securities Warrants solely for the
        Purchaser’s own beneficial account, for investment purposes, and not with a view to, or for resale

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        in connection with, any distribution of the Designated Securities Warrants. The Purchaser
        understands that the Designated Securities Warrants have not been registered under the Securities
        Act or any state securities laws by reason of specific exemptions under the provisions thereof
        which depend in part upon the investment intent of the Purchaser and of the other representations
        made by the Purchaser in this Agreement. The Purchaser understands that the Seller is relying
        upon the representations and agreements contained in this Agreement (and any supplemental
        information) for the purpose of determining whether this transaction meets the requirements for
        such exemptions.

                 (e)      The Purchaser understands that the Designated Securities Warrants are “restricted
        securities” under applicable federal securities laws and that the Securities Act and the rules of the
        U.S. Securities and Exchange Commission provide in substance that the Purchaser may dispose of
        the Designated Securities Warrants only pursuant to an effective registration statement under the
        Securities Act or an exemption therefrom. The Purchaser acknowledges that (i) any subsequent
        transfer of the Designated Securities Warrants, (ii) any issuance of any securities by an issuer of a
        Designated Securities Warrant upon exercise of a Designated Securities Warrant, and (iii) any
        transfer of any such securities that may be issued upon exercise of a Designated Securities Warrant
        may, in each case, be subject to conditions and/or restrictions on transfer imposed by the issuer of
        such Designated Securities Warrant (including any conditions or restrictions on transfer that such
        issuer may determine are necessary to ensure that an applicable federal and/or state securities law is
        available for such exercise, issuance and/or transfer), and neither the Seller, the Trustee, nor any of
        their Affiliates is making any representation or warranty to the Purchaser as to whether such issuer
        will or will not impose or assert any such conditions and/or restrictions on transfer.

                            ARTICLE 7. PRE-CLOSING COVENANTS

         7.1     Consummation of Transaction. Each of the Seller and the Purchaser shall use its best
efforts to take, or cause to be taken, all actions, or do, or cause to be done, all things, necessary to
consummate the Proposed Transactions as promptly as practicable, and neither the Seller nor the Purchaser
shall take any action after the date hereof (other than any action required to be taken under this Agreement
or to which the other shall have granted its consent) that could reasonably be expected to materially delay
the consummation of the Proposed Transactions. The Purchaser shall promptly take all actions reasonably
requested by the Seller to assist in obtaining the Bankruptcy Court’s entry of the Sale Approval Order, such
as furnishing affidavits or other documents or information for filing with the Bankruptcy Court and making
the Purchaser’s employees and representatives available to testify before the Bankruptcy Court.

                           ARTICLE 8. POST-CLOSING COVENANTS

         8.1     Further Assurances. At any time and from time to time from and after the Closing, the
Seller, while the Bankruptcy Case remains pending, and the Purchaser shall, at the request the other party,
execute, acknowledge and deliver, or cause to be executed, acknowledged and delivered, such instruments
and other documents and perform or cause to be performed such acts and provide such information, as may
reasonably be requested by such other party to evidence or effectuate the transactions contemplated
hereunder.




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                                     ARTICLE 9. CONDITIONS

      9.1     Conditions to Each Party’s Obligations. The respective obligations of each party to
consummate the Proposed Transactions shall be subject to the condition that, at the Closing Date:

                 (a)      No Stay or Injunction. There shall be no Governmental Order, or Action pending
        by or before any Governmental Authority to obtain a Governmental Order, to the effect that the
        Proposed Transactions may not be consummated as herein provided or otherwise seeking to prohibit
        or restrict the consummation of the Proposed Transactions; and

                (b)    No Threat of Injunction. No written notice shall have been received from any
        Governmental Authority indicating an intent to restrain, prevent, materially delay, or restructure
        the Proposed Transactions.

        9.2     Conditions to Obligations of the Seller. The obligations of the Seller to consummate the
Proposed Transactions shall be subject to the fulfillment on or prior to the Closing Date of each of the
following conditions (unless waived in writing by the Seller in its absolute and sole discretion):

               (a)    Sale Approval Order. The Sale Approval Order shall have been entered in the
        Bankruptcy Case.

                (b)       Closing Deliveries. The Purchaser shall have tendered or delivered to the Seller
        the items listed in Section 4.3.

                (c)     Representations and Warranties of the Purchaser. Each of the representations and
        warranties of the Purchaser set forth in Article 6 shall be true and correct in all respects as of the
        date of this Agreement and shall be true and correct in all respects at and as of the Closing Date
        with the same force and effect as though newly made as of that date.

                 (d)      Covenants of the Purchaser. The Purchaser shall have performed in all material
        respects all of its obligations under this Agreement, including payment of Cure Amounts (if any),
        that, by the terms of such obligations, are to be performed on or before the Closing Date.

                (e)      Officer’s Certificate. The Seller shall have received a certificate duly executed by
        a senior officer of the Purchaser, in a form reasonably satisfactory to the Seller, to the effect that
        each of the conditions specified in Sections 9.2(c) and 9.2(d) have been satisfied.

         9.3   Conditions to Obligations of the Purchaser. The obligations of the Purchaser to
consummate the Proposed Transactions shall be subject to the fulfillment on or prior to the Closing Date of
each of the following conditions (unless waived in writing by the Purchaser in its absolute and sole
discretion):

                (a)     Consents and Approvals. The Seller shall have obtained any consents and/or
        approvals that are required from any Persons (other than the Bankruptcy Court), if any, and shall
        have provided evidence of the same to Purchaser.

                 (b)    Sale Approval Order. On or prior to the Closing Date, the Sale Approval Order
        shall (i) have been entered in the Bankruptcy Case and become a Final Order; and (ii) have
        remained in full force and effect and shall not have been stayed, vacated, modified, or
        supplemented in any material respect without the Purchaser’s prior written consent.



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                (c)     Closing Deliveries. On or prior to the Closing Date, the Seller shall have delivered
        to the Purchaser the items set forth in Section 4.2.

                    ARTICLE 10. NO SURVIVAL; “AS IS/WHERE IS” SALE

         10.1    No Survival of Representations and Warranties. None of the representations, warranties,
covenants, or other agreements of the parties made herein or in any Other Transaction Document, nor any
rights arising out of any breach of such representations, warranties, covenants, or other agreements, shall
survive the Closing except for those covenants and agreements contained herein (including without
limitation Sections 10.2 and 10.3 hereof) and therein which, by their terms, contemplate performance in
whole or in part after the Closing, which shall survive in accordance with their terms. In addition,
Purchaser agrees that it shall not have any right to redress or reduction of the Purchase Price, whether on
account of any exceptions or matters discovered in the course of due diligence or otherwise.

        10.2    Disclaimer.

                         (a)  The Purchaser understands, acknowledges, and agrees that the Seller is not
                making, and hereby expressly disclaims, any representation, warranty, and/or guaranty
                related to:

                             (i)        the validity, effectiveness, or legal enforceability of any Designated
                        Securities Warrant;

                             (ii)      the remaining exercise period (if any) and/or exercise price under
                        any Designated Securities Warrant;

                           (iii)       the current or potential future value of any Designated Securities
                        Warrant or of any underlying securities of the issuer of any Designated Securities
                        Warrant for which such Designated Securities Warrant is exercisable;

                              (iv)       the condition of any Designated Securities Warrant; or

                             (v)        the current or future potential financial condition and/or business
                        prospects of any issuer of any Designated Securities Warrant.

                         (b)     The Purchaser understands and confirms that it is not relying on any
                communication (written or oral) of the Seller, the Trustee, or any of their Affiliates as
                investment advice or as a recommendation to purchase the Designated Securities Warrants.
                It is understood that information and explanations related to the terms and conditions of the
                Designated Securities Warrants provided by the Seller, the Trustee, or any of their Affiliates
                will not be considered investment advice or a recommendation to purchase the Designated
                Securities Warrants, and that neither the Seller, the Trustee, nor any of their Affiliates is
                acting or has acted as an advisor to the Purchaser in deciding to purchase the Designated
                Securities Warrants. ,The Purchaser acknowledges that neither the Seller, the Trustee, nor
                any of their Affiliates has made any representation regarding the proper characterization of
                the Designated Securities Warrants for purposes of determining the Purchaser’s authority to
                purchase the Designated Securities Warrants.

                        (c)      The Purchaser further acknowledges that neither the Seller, the Trustee, nor
                any of their Affiliates is under any obligation to make disclosures regarding any Designated
                Securities Warrants under applicable non-bankruptcy law, including without limitation

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               under any applicable state and/or federal securities laws. In deciding to purchase the
               Designated Securities Warrants, the Purchaser is not relying on the advice or
               recommendations of the Seller, the Trustee, or any of their Affiliates, and the Purchaser has
               made its own independent decision that the purchase of the Designated Securities Warrants
               is suitable and appropriate for the Purchaser and, in so doing, the Purchaser is required to
               rely (and is relying) exclusively on its own consultants, advisors, counsel, employees,
               agents, principals, and/or information, studies, investigations, and/or inspections with
               respect to any Designated Securities Warrant, its condition, value, and potential.

                        (d)      The Purchaser acknowledges that neither the Seller, the Trustee nor any of
               their Affiliates or any other Person offered to sell the Designated Securities Warrants to it
               by means of any form of general solicitation or advertising, including but not limited to:
               (i) any advertisement, article, notice, or other communication published in any newspaper,
               magazine or similar media or broadcast over television or radio; or (ii) any seminar or
               meeting whose attendees were invited by any general solicitation or general advertising.

       10.3  “AS IS/WHERE IS” SALE. EXCEPT AS EXPRESSLY SET FORTH IN ARTICLE 5,
(I) THERE ARE NO REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESSED OR
IMPLIED, WITH RESPECT TO THE DESIGNATED SECURITIES WARRANTS OR THE ASSUMED
LIABILITIES, AND (II) THE PURCHASER ACKNOWLEDGES THAT THE DESIGNATED
SECURITIES WARRANTS ARE BEING SOLD, TRANSFERRED, CONVEYED, ASSIGNED, AND
DELIVERED TO, AND PURCHASED AND ACCEPTED BY, THE PURCHASER ON AN
“AS IS/WHERE IS” BASIS.

                                   ARTICLE 11. TERMINATION

       11.1    Termination of Agreement. This Agreement may be terminated and the transactions
contemplated hereby may be abandoned at any time prior to the Closing:

               (a)      by the mutual written consent of the Purchaser and the Seller;

               (b)     by either the Seller or the Purchaser if the Purchaser is not approved as the Successful
       Bidder or a Back Up Bidder in the Sale Approval Order;

                (c)     if the Purchaser is approved as the Successful Bidder or a Back Up Bidder in the Sale
       Approval Order, then by either the Seller or the Purchaser upon written notice to the other, if the
       Proposed Transactions have not been consummated by the applicable Closing Deadline for the
       Purchaser (“Termination Date”), provided, however, that, if the failure to consummate the Proposed
       Transactions is due to material breach by the party attempting to terminate this Agreement, such party
       shall have no right to do so;

             (d)     by either the Seller or the Purchaser, upon written notice to the other, if a
       Governmental Authority issues a Final Order prohibiting the Proposed Transactions; or

                 (e)    by the Seller, upon written notice to the Purchaser, if there shall be a material
       breach by the Purchaser of any representation, warranty, covenant, or agreement contained in this
       Agreement which would reasonably be expected to result in a failure of a condition set forth in
       Sections 9.2(c) or 9.2(d) to be satisfied, which breach has not been cured by the earlier of
       (i) 10 days after the giving of written notice by the Seller to the Purchaser of such breach and
       (ii) the Termination Date.


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         11.2    Effect of Termination. Upon the termination of this Agreement pursuant to Section 11.1,
this Agreement (except this Section 11.2, Section 3.2 and Article 12) shall become void and have no further
effect and there shall be no liability hereunder on the part of the Seller or the Purchaser with respect to this
Agreement except in connection with its obligations set forth in such Sections and Articles.

                           ARTICLE 12. MISCELLANEOUS PROVISIONS

       12.1     Expenses. Each party hereto will bear its own expenses in connection with the Proposed
Transactions.

         12.2    Public Announcements. Other than statements made in the Bankruptcy Court (or in
pleadings filed therein), the Purchaser and the Seller shall consult with each other before issuing any press
releases or making any public statement or other public communication with respect to this Agreement or
the Proposed Transactions. The Purchaser and the Seller shall not issue any such press release or make any
such public statement or public communication without the prior written consent of the other party, which
shall not be unreasonably withheld or delayed.

         12.3    Amendment; Waiver. None of this Agreement or the Other Transaction Documents may
be amended, modified, or supplemented except by a written instrument signed by all parties hereto or
thereto as the case may be. No waiver of any of the terms or provisions of this Agreement or any Other
Transaction Document shall be effective unless set forth in a written instrument signed by the party
granting such waiver. No waiver of any of the terms or provisions of this Agreement or any Other
Transaction Document shall be deemed to be or shall constitute a waiver of any other term or provision
hereof or thereof (whether or not similar), nor shall such waiver constitute a continuing waiver. No failure
of a party hereto to insist upon strict compliance by the other party hereto with any covenant or agreement
contained in this Agreement shall operate as a waiver of, or estoppel with respect to, any subsequent or
other failure.

        12.4    Notices.

                (a) All notices, requests, demands, or other communications required or permitted under
        this Agreement shall be in writing and mailed or delivered by facsimile transmission, hand or
        courier service:

                         If to the Seller, to:    c/o Randolph N. Osherow, Chapter 7 Trustee
                                                  342 West Woodlawn, Suite 100
                                                  San Antonio, Texas 78212
                                                  Tel:           (210) 738-3001
                                                  Email:         rosherow@hotmail.com


                                                  With a copy, which shall not constitute notice, to:


                                                  Munsch Hardt Kopf & Harr, P.C.
                                                  1717 West 6th Street, Suite 250
                                                  Austin, Texas 78703
                                                  Attention:     Jay H. Ong
                                                  Tel:           (512) 391-6124
                                                  Email:         jong@munsch.com


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                        If to the Purchaser, to: [_________]

                                                 With a copy, which shall not constitute notice, to:

                                                 [_________]

                  (b) All notices and other communications required or permitted under this Agreement that
        are addressed as provided in this Section 12.4, (i) if delivered personally (with written confirmation
        of receipt) or by confirmed facsimile transmission, shall be effective upon delivery, and (ii) if
        delivered (A) by certified or registered mail with postage prepaid, shall be effective five (5)
        Business Days or (B) by an internationally recognized overnight express mail service such as
        Federal Express, UPS, or DHL Worldwide, with courier fees paid by the sender, shall be effective
        two (2) Business Days following the date when mailed or couriered, as the case may be. Either
        party hereto may from time to time change its address for the purposes of notices to such party by a
        similar notice specifying a new address, but no such change shall be deemed to have been given
        until it is actually received by the party sought to be charged with its contents.
         12.5    Succession and Assignment. This Agreement and all of the terms and provisions hereof
shall be binding upon and inure to the benefit of the parties hereto and their respective successors and
permitted assigns. None of the parties hereto may assign this Agreement or any of its rights, interest, or
obligations hereunder without the prior written approval of the other. Upon any such permitted assignment,
the references in this Agreement to the Seller or the Purchaser, as applicable, shall also apply to any such
assignee unless the context otherwise requires. Any assignments made in contravention of the terms of this
Section 12.5 shall be void ab initio.

         12.6   Governing Law. This Agreement, the Other Transaction Documents, and the legal
relations between the parties hereto shall be governed and interpreted in accordance with the laws of the
State of Texas without regard to principles of conflicts of law, except to the extent that United States
bankruptcy law is applicable.

        12.7    Consent to Jurisdiction.

                 (a)      Until the entry of an order either closing or dismissing the Bankruptcy Case, each
        party hereto hereby: (i) irrevocably elects as the sole judicial forum for the adjudication of any
        matter arising under or in connection with this Agreement or any Other Transaction Document, and
        consents to the exclusive jurisdiction of, the Bankruptcy Court; (ii) expressly waives any defense or
        objection to jurisdiction or venue based on the doctrine of forum non conveniens; and (iii) stipulates
        that the Bankruptcy Court shall have in personam jurisdiction over such party.

                (b)      After the entry of an order either closing or dismissing the Bankruptcy Case, each
        party hereto hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts
        in Travis County, Texas (the “Travis County Courts”) in any action arising out of or relating to
        this Agreement or any Other Transaction Document, and each such party hereto hereby irrevocably
        agrees that all claims in respect of any such action shall be heard and determined in the Travis
        County Courts. Each party hereto, to the extent permitted by applicable Law, hereby expressly
        waives any defense or objection to jurisdiction or venue based on the doctrine of forum non
        conveniens and stipulates that the Travis County Courts shall have in personam jurisdiction and
        venue over such party for the purpose of litigating any dispute or controversy between the parties
        arising out of or relating to this Agreement or any Other Transaction Document. In the event that
        either party hereto shall commence or maintain any action arising out of or relating to this
        Agreement or any Other Transaction Document in a forum other than the Travis County Courts,


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        the other party hereto shall be entitled to request the dismissal or stay of such action, and each party
        hereto stipulates for itself that such action shall be dismissed or stayed. To the extent that either
        party hereto has or hereafter may acquire any immunity from the jurisdiction of the Travis County
        Courts or form any legal process (whether through service or notice, attachment prior to judgment,
        attachment in aid of execution, or otherwise) with respect to itself or its property, each such party
        hereby irrevocably waives such immunity.

      12.8   WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY WAIVES, TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A
TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT
OF, UNDER OR IN CONNECTION WITH THIS AGREEMENT OR ANY OF THE OTHER
TRANSACTION DOCUMENTS.        EACH PARTY HERETO (A) CERTIFIES THAT NO
REPRESENTATIVE, AGENT, OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT
IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT AND THE OTHER TRANSACTION DOCUMENTS, AS APPLICABLE, BY, AMONG
OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 12.8.

         12.9    Entire Agreement. This Agreement, the Non-Disclosure Agreement dated as of
_______, 2024, between Seller and Purchaser and the Other Transaction Documents, each of which are
incorporated herein, embody the entire agreement and understanding between the parties hereto with
respect to the subject matter hereof and supersede all prior agreements, commitments, arrangements,
negotiations, or understandings, whether oral or written, between the parties hereto, their respective
Affiliates or any representatives of any of them with respect thereto. There are no agreements, covenants,
or understandings with respect to the subject matter of this Agreement or the Other Transaction Documents
other than those expressly set forth or referred to herein or therein, or in an order of the Bankruptcy Court
and no representations or warranties of any kind or nature, whatsoever, express or implied, have been made
or shall be deemed to have been made by the parties hereto except those expressly made in this Agreement
and the Other Transaction Documents.

        12.10 Severability. Whenever possible, each provision or portion of any provision of this
Agreement shall be interpreted in such manner as to be effective and valid under applicable Law, but if any
provision or portion of any provision of this Agreement is held to be invalid, illegal, or unenforceable in
any respect under any applicable Law in any jurisdiction, such invalidity, illegality, or unenforceability
shall not affect the validity, legality, or enforceability of any other provision or portion of any provision in
such jurisdiction, and this Agreement shall be reformed, construed, and enforced in such jurisdiction in
such manner as will effect as nearly as lawfully possible the purposes and intent of such invalid, illegal, or
unenforceable provision. To the extent permitted by Law, the parties hereto waive any provision of Law
that renders any such provision prohibited or unenforceable in any respect. Notwithstanding anything to
the contrary set forth herein, the provisions hereof for entry of the Sale Approval Order are not severable
and may not be reformed.

        12.11 No Third Party Beneficiaries. Except as and to the extent otherwise provided herein,
nothing in this Agreement is intended, nor shall anything herein be construed, to confer any rights, legal or
equitable, in any Person other than the parties hereto and their respective successors and permitted assigns.

        12.12 Exhibits, Appendices and Schedules. All Appendices, Exhibits, and Schedules hereto, or
other documents expressly referenced in and incorporated into this Agreement, are hereby incorporated into
this Agreement and are hereby made a part hereof as it set out in full in this Agreement.


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       12.13 Counterparts. This Agreement may be executed in one or more counterparts, each of
which shall be deemed an original, but all of which, when taken together, shall constitute one and the same
instrument. Any counterpart may be executed by facsimile signature and such facsimile signature shall be
deemed an original.

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          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed, as
  of the date first above written.


                                             THE SELLER:

                                             ASTRALABS, Inc., d/b/a “Newchip

                                               By:    ___________________________
                                                      Name:   Randolph N. Osherow
                                                      Title:  Trustee



                                               THE PURCHASER:

                                               ____________________________________

                                               By:    ___________________________
                                                      Name:
                                                      Title:




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                                    APPENDIX I

                            Designated Securities Warrants

                   Warrant Date          Warrant Issuer
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                                   EXHIBIT A

                                Sale Approval Order

                                  [to be attached]




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                                                   EXHIBIT B

                                   Assignment and Assumption Agreement

          THIS ASSIGNMENT AND ASSUMPTION AGREEMENT (this “Agreement”) is made to be
  effective as of [_____] (the “Effective Date”), by and between (i) ASTRALABS, Inc., dba “Newchip”
  (“Seller”), and (ii) [______] (“Purchaser”). This Agreement is executed pursuant to the terms of that
  certain Asset Purchase Agreement, dated as of [______], by and among Seller and Purchaser
  (the “Purchase Agreement”).
          In consideration of the foregoing premises and other good and valuable consideration, the receipt
  and sufficiency of which is hereby acknowledged, Seller and Purchaser agree as follows:
         1.      Capitalized Terms. Any capitalized term not defined in this Agreement shall have the
  meaning assigned to such term in the Purchase Agreement.
          2.      Assignment of Designated Securities Warrants. Seller hereby sells, assigns, grants,
  conveys, and transfers to Purchaser all of Seller’s right, title, and interest, if any, in and to the Designated
  Securities Warrants listed on Appendix 1 hereto. Purchaser hereby accepts such assignment and transfer
  of the Designated Securities Warrants.
           3.       Assumption of Assumed Liabilities. Upon the terms and subject to the conditions of the
  Purchase Agreement, Seller hereby assigns to Purchaser, and Purchaser hereby assumes from Seller and
  shall thereafter be responsible for the payment, performance, or discharge of the Assumed Liabilities (if
  any). For the avoidance of doubt, as of the Effective Date, Purchaser shall be responsible for the
  payment, performance, or discharge of the Assumed Liabilities regardless of when such Assumed
  Liabilities arose.
           4.       Purchase Agreement. Notwithstanding any other provisions of this Agreement to the
  contrary, nothing contained in this Agreement shall in any way supersede, replace, restate, amend,
  expand, or otherwise modify in any way any provision or limitation of the Purchase Agreement or any
  rights, obligations, representations, warranties, or remedies of the parties under the Purchase Agreement.
  This Agreement is being delivered pursuant to the Purchase Agreement to effect the transfer of the
  Designated Securities Warrants and the Assumed Liabilities pursuant to the Purchase Agreement, and it is
  subject to all of the terms, conditions, and limitations set forth in the Purchase Agreement.
          5.      Governing Law. This Agreement shall be governed and interpreted in accordance with
  the laws of the State of Texas without regard to principles of conflicts of law, except to the extent that
  United States bankruptcy law is applicable.
           6.       Further Assurances. Each of the parties hereto shall, and shall cause their respective
  Affiliates to, execute and deliver such additional documents, instruments, conveyances, and assurances
  and take such further actions as may be reasonably required to carry out the provisions hereof and give
  effect to the transactions contemplated by this Agreement.
         7.       No Third-Party Beneficiaries. The sole purpose hereof is to transfer and convey to
  Purchaser the Designated Securities Warrants and the Assumed Liabilities and to evidence the assumption
  by Purchaser of the Assumed Liabilities and not to create third-party beneficiary rights.
          8.       Counterparts. This Agreement may be executed (including by facsimile or other
  electronic transmission) in one or more counterparts, each of which shall be deemed to be an original, but
  all of which together shall constitute one and the same instrument.
           9.      Successors and Assigns. This Agreement shall be binding upon and inure to the benefit of
  the parties hereto and their respective successors and assigns.

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       The undersigned have caused this Agreement to be executed as of the Effective Date.

                                              SELLER:

                                              ASTRALABS, INC., d/b/a “NEWCHIP”


                                              By:_________________________________
                                              Name: Randolph N. Osherow
                                              Title: Trustee



                                              PURCHASER:

                                              [_____]


                                              By:_________________________________
                                              Name:
                                              Title:




                       [Signature Page to Assignment and Assumption Agreement]
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                   Appendix 1 to Assignment and Assumption Agreement
                             Designated Securities Warrants

                   Warrant Date           Warrant Issuer




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                                    Exhibit “4”

                             Proposed Final Sale Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

      In re:                                              §
                                                          §        Case No. 23-10164-smr
      ASTRALABS, INC.,                                    §
                                                          §        Chapter 7
               Debtor.                                    §

                    ORDER GRANTING TRUSTEE’S MOTION FOR
              AUTHORITY TO SELL DESIGNATED SECURITIES WARRANTS,
            FREE AND CLEAR OF ALL LIENS, CLAIMS, AND ENCUMBRANCES,
           AND PROVIDING RELIEF PURSUANT TO 11 U.S.C. § 363(b), (f), AND (m)

               CAME ON FOR CONSIDERATION the Motion (I) for Authority to Sell Designated

  Securities Warrants, Free and Clear of All Liens, Claims, and Encumbrances; (II) for Approval of

  Notice, Sale, and Executory Contract Procedures; and (III) to Set Final Hearing to Approve Sale

  and Good Faith Designation to Prevailing Purchaser(s) [Docket No. 351] (the “Sale Motion”), 1

  filed by Randolph N. Osherow, not individually but in his capacity as the duly appointed chapter 7

  trustee (the “Trustee”) for and on behalf of ASTRALABS, Inc., d/b/a “Newchip” (the “Debtor”)

  and its bankruptcy estate arising under 11 U.S.C. § 541 (“Estate”).


  1
        Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Sale Motion.


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            After reviewing and considering the Sale Motion, the evidence, representations of counsel,

  argument presented at a hearing before the Court (the “Final Sale Hearing”), and the entire record

  before it; and this Court having found that the relief requested in the Sale Motion is in the best

  interests of the Debtor, the Estate, its creditors and stakeholders, and all other parties-in-interest;

  and this Court having determined that the legal and factual bases set forth in the Sale Motion and

  considered at the Final Sale Hearing establish just cause for the relief granted herein; and after due

  deliberation and sufficient cause appearing, the Court further finds and concludes as follows 2:

            A.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(a)

  and 1334(b) and the standing Western District of Texas Order of Reference of Bankruptcy Cases

  and Proceedings. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and a matter that

  arises exclusively under the provisions of title 11 of the United States Code, 11 U.S.C. §§ 101

  et seq. (as amended, the “Bankruptcy Code”) and as to which the Court accordingly has the power

  consistent with the United States Constitution to enter a final order. The Trustee has expressly

  consented to such a final disposition by this Court. Venue is proper pursuant to 28 U.S.C. §§ 1408

  and 1409.

            B.     On March 17, 2023 (the “Petition Date”), the Debtor commenced the

  above-captioned and numbered case (the “Bankruptcy Case”) by filing a voluntary petition for

  relief under chapter 11, subchapter V, of the Bankruptcy Code, thereby creating the Debtor’s

  Estate.

            C.     On May 12, 2023 (the “Conversion Date”), the Court entered its Order Converting

  Case to Chapter 7 [Docket No. 89], converting the Bankruptcy Case to chapter 7, discharging the

  subchapter V trustee, and appointing the Trustee as the interim trustee to oversee the


  2
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
      of fact when appropriate. See Fed. R. Bankr. P. 7052.


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  administration, operation, and management of the Debtor’s Estate and its business. On August 22,

  2023, the United States Trustee filed its Report of a Disputed Election of Trustee Pursuant to

  Federal Rule of Bankruptcy Procedure 2003 [Docket No. 265] (the “UST’s Report”), and no

  motion for the resolution of the dispute was filed within 14 days of the report. The Trustee,

  accordingly, continues to serve as Chapter 7 Trustee. See Fed. R. Bankr. P. 2003(d)(2). No official

  committee has been appointed in the Bankruptcy Case.

         D.      Among the assets of the Debtor’s bankruptcy Estate, the Debtor owns a portfolio

  of certain warrant securities issued to the Debtor generally by former customers (collectively,

  the “Warrants”), which appear to comprise the Debtor’s primary assets. Although the forms of the

  Warrants evolved over time and therefore are not identical, the Warrants generally expire after

  certain periods (e.g., twenty-four months after the effective date), subject to certain provisions for

  periodic disclosure obligations and potential extension.

         E.      As of the Petition Date, the U.S. Small Business Administration (“SBA”), holds a

  claim in the amount of $519,401.25, secured by perfected liens and security interests in a

  substantially all of the Debtor’s personal property (“SBA Claim”). See Proof of Claim dated

  July 12, 2023, and assigned Claim No. 228-1 in the official Claims Register maintained by the

  Clerk of the Court for the Bankruptcy Case. The SBA Claim accrues annual interest at a rate of

  3.75% per year. Id. at 2.

         F.      On July 11, 2023, this Court entered its Order [Docket No. 172] extending the

  deadline for the Trustee to seek to assume or reject executory contracts as provided in section 365

  of the Bankruptcy Code through October 11, 2023 (the “Assumption / Rejection Deadline”). On

  October 10, 2023, this Court entered its Order [Docket No. 336] further extending the

  Assumption / Rejection Deadline to January 15, 2024, without prejudice to other and further




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  requests.   On [●], the Court entered its Order [Docket No. [●]], further extending the

  Assumption / Rejection Deadline to [●], 2024, without prejudice to other and further requests.

         G.      On September 6, 2023, the Court entered its Order [Docket No. 296] authorizing

  the Trustee to retain PEAK Technology Partners, LLC (the “Sale Agent”)—a licensed,

  technology-focused investment banker and securities broker specializing in sell-side

  transactions—to act as the Estate’s agent in connection with its marketing and sale of its assets,

  including Warrants.

         H.      As set forth in the Sale Motion, the Trustee and the Sale Agent identified certain

  Warrants for sale (collectively, the “Sale Assets”) pursuant to the Sale Motion (the proposed

  “Sale”), which Sale Assets are listed on Exhibit “1” attached to the Sale Procedures (defined

  below).

         I.      On December 18, 2023, this Court held an initial hearing to consider the Sale

  Motion, pursuant to which the Court entered an order [Docket No. [●]] that, inter alia: (i) approved

  certain procedures to govern the marketing and Sale of the Sale Assets (the “Sale Procedures”),

  including but not limited to procedures governing the assumption and assignment of the Sale

  Assets to the Purchaser to the extent they constitute executory contracts within the meaning of

  section 365 of the Bankruptcy Code; and (ii) scheduled the Final Sale Hearing to consider the

  Court’s approval of the Sale to the Qualified Bidder(s) making the highest and best Qualified Bid

  or combination of Qualified Bids (collectively, the “Successful Bid”) for the Sale Assets

  (collectively, the “Successful Bidder”), as well as to the Qualified Bidder(s) making the next best

  and highest offer (collectively, the “Back Up Bid”) for the Sale Assets (collectively, “Back Up

  Bidder”).




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         J.      On December [●], 2023, the Court-approved Notice of Entry of Order (I) Approving

  Notice, Sale, and Executory Contract Procedures for Sale of Designated Securities Warrants, Free

  and Clear of All Liens, Claims, and Encumbrances; and (II) Scheduling Final Sale Hearing,

  including the Sale Procedures, was served on all parties entitled to or requesting notice in the

  Bankruptcy Case, as well as on known interested bidders. See Docket No. [●].

         K.      Pursuant to the Sale Procedures and following the Bid Deadline set forth therein,

  on March [●], 2024, the Trustee filed his notice identifying the Successful Bidder, Successful Bid,

  Back Up Bidder, and Back Up Bid (hereinafter, “Purchaser” refers to Successful Bidder or Back

  Up Bidder, as applicable, and Purchase Price refers to the foregoing highest bid amount by the

  Successful Bidder or Back Up Bidder, as applicable; whichever the Trustee closes the Sale with),

  determined by the Trustee in consultation with the Sale Agent, in the Trustee’s reasonable business

  judgment and sole discretion, as follows:

         Successful Bidder                     Purchase Price                 Sale Assets

         Back Up Bidder                        Purchase Price                 Sale Assets

  See Docket No. [●].

         L.      As demonstrated by testimony and other evidence proffered or adduced at the Final

  Sale Hearing and the representations of counsel made on the record at the Final Sale Hearing, the

  Trustee and his professionals have received no other higher or better offers. The Sale process

  undertaken by the Trustee and his professionals with respect to the Sale Assets has been adequate

  and appropriate under the particular circumstances, and the Purchase Price represents the highest

  and best proposal received by the Trustee, thereby maximizing the value of the Sale Assets for the

  Debtor’s Estate. Furthermore, the Purchase Price is fair and adequate and constitutes reasonably




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  equivalent value and fair consideration under the Bankruptcy Code and any other applicable laws

  of the United States or any of its jurisdictions or subdivision.

         M.      The Purchase Price was negotiated by the Trustee and the Purchaser without

  collusion, in good faith, and at arm’s length. Neither the Trustee nor the Purchaser has engaged

  in any conduct that would cause or permit the Purchase Price to be avoided under section 363(n)

  of the Bankruptcy Code. Neither the Purchaser, nor any of its affiliates or representatives, is an

  “insider” of the Debtor as such term is defined in section 101(31) of the Bankruptcy Code.

         N.      The Purchaser, to the extent it timely and fully closes and performs the Sale and

  APA, is hereby deemed to be a good-faith purchaser under section 363(m) of the Bankruptcy Code

  and, as such, shall be entitled to all of the protections afforded thereby.

         O.      The assumption and assignment to the Purchaser of the relevant Sale Assets, to the

  extent they constitute executory contracts designated by the Purchaser, is a sound and reasonable

  exercise of the Trustee’s business judgment and complies with Bankruptcy Code section 365.

         P.      Further, given that the Purchaser is acquiring the assets free and clear of all liens,

  claims, and encumbrances pursuant to section 363(f), the Purchaser is not and cannot be a

  successor-in-interest to the Debtor as to any other creditor or other parties-in-interest as to such

  liens, claims, and encumbrances.

         Q.      As further set forth herein, the Trustee may sell the Sale Assets free and clear of

  any and all liens, claims, and encumbrances, pursuant to 11 U.S.C. § 363(f), because, in each case,

  one or more of the standards set forth in section 363(f)(1)–(5) of the Bankruptcy Code has been

  satisfied. In particular, subject to the provisions of this order (the “Final Sale Order”) set forth

  below, the SBA has consented to the entry and implementation of this Final Sale Order and to the

  Sale of the Sale Assets to the Purchaser.




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  NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

         1.      The relief requested in the Sale Motion is GRANTED as set forth herein.

         2.      All objections to the entry of this Final Sale Order or to the relief granted herein,

  whether filed, stated on the record before the Court, or otherwise, which have not been withdrawn,

  waived, or settled, and all reservations of rights included therein, are denied and overruled on the

  merits. All objections to the entry of this Final Sale Order or to the relief granted herein that were

  not timely filed are hereby forever barred.

         3.      The proposed Sale to the Purchaser is hereby approved for the purchase and sale of

  the Sale Assets, free and clear of any and all liens, claims, and encumbrances, in exchange for the

  Purchase Price and as otherwise further set forth in the APA submitted by the Purchaser with its

  Qualified Bid and as may be reasonably modified by the Trustee’s consent.

         4.      Pursuant to section 363 of the Bankruptcy Code, the Trustee is authorized and

  directed to take any and all actions necessary to consummate the Sale of the Sale Assets pursuant

  to and in accordance with the terms and conditions of this Final Sale Order and the Sale Motion.

         5.      At the closing, the Trustee is authorized in the Trustee’s discretion, but not required,

  to pay the SBA Claim to the SBA, in the amount of $519,401.25, plus a per diem of $53.36

  calculated from and after the Petition Date to the date of payment of the SBA. In the event that

  the Trustee does not pay the SBA Claim at the closing of the Sale: (i) the SBA’s liens and security

  interests securing the repayment of the SBA Claim shall automatically transfer to the proceeds of

  Sale received by the Trustee with the same validity, priority, and extent as existed against the Sale

  Assets prior to the entry of this Final Sale Order; (ii) the SBA Claim shall continue to accrue

  interest until paid; and (iii) the Trustee shall reserve and not expend Sale proceeds in an amount

  sufficient to pay in full the SBA Claim plus accrued interest, unless and until subsequently ordered

  otherwise by this Court upon prior notice to the SBA.


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         6.      The Trustee is hereby authorized to pay his Sale Agent its Court-ordered

  commission from the proceeds of Sale and at the closing of the Sale; provided, however, that, as

  set forth in the Court’s retention Order at Docket No. 296, the Sale Agent remains subject to final

  allowance, reconsideration, and approval by this Court of any and all reasonable and actual

  out-of-pocket expenses paid or payable to the Sale Agent, pursuant to an application by or for such

  final allowance and payment of same. All disbursements of Sale proceeds, including at the closing

  of the Sale, are hereby deemed to be made by and through the Trustee.

         7.      If any Successful Bidder does not close the Sale by no later than 5:00 p.m.

  (prevailing Central Time) on May [●], 2024, which is the first business date that is thirty (30)

  days following entry of this Final Sale Order, the Trustee may, in his sole discretion, notify the

  Back Up Bidder and proceed to close the Back Up Bid with the Back Up Bidder, as Purchaser, in

  which event:

         a.      The Trustee shall retain such Successful Bidder’s Deposit, entirely and as damages

                 for the benefit of the Estate and for all purposes; and

         b.      If any Back Up Bidder does not close the Sale by no later than 5:00 p.m. (Central

                 Time) on the first business date that is fifteen (15) days following the Trustee’s

                 notice to the Back Up Bidder, the Trustee shall retain such Back Up Bidder’s

                 Deposit, entirely and as damages, for the benefit of the Estate and for all purposes.

         c.      Notwithstanding any other provision of this Paragraph 7, in the event there are

                 multiple Qualified Bidders / proposed Purchasers whose Qualified Bids have been

                 aggregated or combined under, and as, the Successful Bid or the Back Up Bid, and

                 fewer than all of the Qualified Bidders / proposed Purchasers under such Successful

                 Bid or Back Up Bid, as applicable, fail to close the Sale as required under these




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                 Sale Procedures, only the defaulting Successful Bidder and/or Back Up Bidder, as

                 applicable, shall forfeit its Deposit, and the Trustee, in his sole discretion, may

                 nevertheless determine to proceed with closing the Sale, or the remainder of the

                 Sale, with the remaining, non-defaulting Successful Bidders or Back Up Bidder(s),

                 in the Trustee’s sole discretion. Any Successful Bidder or Back Up Bidder who is

                 not afforded the opportunity to close the Sale due to the default of another

                 Successful Bidder or Back Up Bidder, as applicable, shall receive a refund of its

                 Deposit where the Court determines that the failure to close was entirely beyond its

                 reasonable control. In the event a Successful Bidder or Back Up Bidder defaults

                 on its obligations to timely close the Sale as required under these Bid Procedures,

                 any Deposit of a non-defaulting Successful Bidder and/or Back Up Bidder shall be

                 refunded within three (3) business days of the earlier of: (i) the closing of the Sale,

                 if agreed by the Trustee; and (ii) the Court’s determination that the failure to close

                 was entirely beyond the bidder’s reasonable control.

         8.      Following closing, the Trustee shall file with the Court and provide to the UST the

  statement of Sale proceeds required by Federal Rule of Bankruptcy Procedure 6004(f).

         9.      This Final Sale Order is binding upon all creditors of, and equity holders in, the

  Debtor and any and all other parties-in-interest.

         10.     Upon the closing and funding, the Sale Assets shall be transferred to Purchaser free

  and clear of any and all liens, claims, and encumbrances pursuant to 11 U.S.C. § 363(f).

         11.     Following the closing, the Trustee and Purchaser are authorized to file appropriate

  termination statements, instruments of satisfaction, or releases of all liens and to take reasonable

  actions to perform and implement the Purchaser’s APA with the Debtor.




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          12.     The Trustee is authorized to assume and assign to Purchaser the Sale Asset

  Warrants to the extent such contracts constitute executory contracts designated under the APA to

  be assumed and assigned to Purchaser, which designation may be modified pursuant to the terms

  of the APA (the “Assigned Contracts”), pursuant to sections 105(a) and 365(a) of the Bankruptcy

  Code, and effective as of the closing; provided, however, that: (i) the Assigned Contracts shall be

  assumed by Purchaser free and clear of all interests of any kind or nature whatsoever; (ii) the

  Trustee shall be permitted to execute and deliver to Purchaser all such documents and instruments

  as Purchaser deems necessary to assign and transfer the Assigned Contracts to Purchaser; (iii) the

  Assigned Contracts shall remain in full force and effect for the benefit of Purchaser,

  notwithstanding any provision to the contrary and including, but not limited to, any provisions

  described in sections 365(b)(2), (e)(1), and (f) that prohibit, restrict, or condition such assignment

  or transfer; and (iv) the Purchaser assumes each and every Assigned Contract subject to any and

  all provisions set forth therein, including without limitation, any provision providing for a “right

  of first refusal” held by the issuer, any and all related rights and obligations, but solely to the extent

  valid and enforceable under applicable law. No cure obligations apply to the Estate’s assumption

  and assignment to the Purchase of the Assigned Contracts.

          13.     This Court retains jurisdiction to, among other things, interpret, enforce, and

  implement the terms and provisions of this Final Sale Order.

          14.     Notwithstanding Bankruptcy Rule 6004(h), this Final Sale Order shall be effective

  and enforceable immediately upon entry and its provisions shall be self-executing, such that, in

  the absence of any person or entity obtaining a stay pending appeal, the Trustee is free to close

  upon the Sale to the Purchaser.

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  Order submitted by:

   By: /s/ Jay H. Ong

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